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                                                F ORW ARD
         It has been widely reported that MERS1 has broken or severely diluted2 the chain of title
for real property records, but what does this mean? To understand the importance of the chain of
title to a property and the complexities of land boundaries we need to look no further than the
advice given to practicing attorneys.

         “To properly  evaluate a  case, counsel  and survey experts often must  examine chains  of 
         title for all properties subject to the dispute. In the case of a boundary dispute, it may be
         necessary to search the chain of title back to a patent to determine paramount title or to
         locate true boundaries.” 3

       As is readily apparent, a broken chain of title will have adverse effects on adjoining
properties and in many instances the boundaries of properties within an entire neighborhood.
Attorneys are advised  to  “seriously consider not taking the case or withdrawing from it.” If
attorneys  are  advised  to  “seriously  consider”  withdrawing,  how will the common victim of
MERS (by proxy) get relief?

        The complexity of the problem is obvious. As lenders and title insurers pass
responsibility back and forth, property owners who purchased a foreclosed property that had
been in the MERS system (and now have broken chains of title) and their neighbors will be
forced into expensive and complex litigation in order to determine their boundaries.

                  W ho will be financially responsible for the litigation to quiet title?
                  T his W hite Paper documents the importance of a chain of title and the
                  far reaching effects of a lost chain of title.



1
 When referencing MERS in this report, the author refers to MERSCORP, Inc. and its 5000 plus members and the
Mortgage Electronic Registration Systems, Inc. (a subsidiary of MERSCORP, Inc.).
2
 The terms broken and diluted are used interchangeably in this White Paper.  Chains of title are “diluted” when the 
historical indexing systems and proper public recordings are not utilized (along with back dating and forging of legal
documents , ie. robo-signing) making a chain of title impractical to recreate.
3
 Continuing Education of the Bar (CEB), California Easements and Boundaries, Law and Litigation (July 2010) §§
10,11, 10.32, pgs. 471-472, 489-490.  According to the  Checklist: Dos and Don’ts in Boundary  Location Dispute 
contained in this treatise, attorneys are advised to:
               Remind clients that boundary location disputes are usually expensive to litigate (a client will
                   sometimes fight to the last dollar).
               Do not enter an appearance in any boundary litigation unless counsel is confident about handling
                   both the emotional and legal issues.
               If there is continued doubt about the boundary location, research, read, and review again; usually
                   the answer is buried somewhere [in the chain of title].
               If enormous doubt persists on location or validity of the boundary, seriously consider not taking
                   the case or withdrawing from it.

See E xhibit G for a complete list.


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                                 ABOUT THE AUTHORS

        David E. Woolley is the author of this white paper. Mr. Woolley is a California Licensed
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auditing and quality control programming, fraud investigation and technical report production
pertaining to land survey and land title fraud. Harbinger Analytics Group also provides litigation
support services in the form of expert witness opinions regarding standard of care, professional
negligence, negligent misrepresentation and breach of representations and warranties. A copy of
Mr. Woolley’s curriculum vitae is attached to this report as Exhibit I.

        Lisa D. Herzog is the editor and legal research analyst for this white paper. Ms. Herzog
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not legal advice. The article is for basic informational purposes only and does not contain legal
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addressed to competent licensed legal counsel. As such, Mr. Woolley and Ms. Herzog, are not,
and cannot, be liable for offering any legal advice or opinions in this informational article.
Additionally, the authors’ use of the word “fraud” is meant in its everyday use. It is understood
that the legal cause of actions encompassing fraud must be proven by specific elements in a court
of law (including a determination of intent).




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                                                          I

                                       E X E C U T I V E SU M M A R Y

        Thanks  to  the  Mortgage  Electronic  Registry  System’s  (“MERS”)  failure  to  accurately 
complete and/or publically record property conveyances in the frenzy of banks securitizing home
loans and in subsequent foreclosure actions,1 neighbors to a foreclosed property (with a
sequential conveyance) as well as the foreclosed property itself will have unclear boundaries and
clouded/unmarketable titles making it difficult, if not impossible, for these homeowners to sell
their properties and for subsequent purchasers to obtain title insurance on that property.2 MERS
now keeps electronic records on about half of the home mortgages in the United States.3

        Many problems with MERS and the home loan securitization process have been reported
in print media (countless articles), in movies (the Inside Job) and on television (most recently on
the April 3, 2011 edition of 60 Minutes). Academic professors such as Christopher L. Peterson
of the University of Utah, S.J. Quincy College of Law, have written extensively on what is
wrong with MERS.4 Courts have ruled against MERS’ standing to foreclose and have criticized 
the MERS model as being flawed, wholly inaccurate and not allowing homeowners to fight
foreclosures because it shields the true owner of a mortgage in public records.5 States Attorneys’ 
General and federal bank regulators6 are investigating MERS practices including fraudulently
robo-signing and back dating missing documents. A few County Registrars of Deeds are
claiming that they are owed millions of dollars in lost revenue from mortgage assignment

1
  “For banks, the local government recorders weren’t speedy enough especially as the mortgage industry moved into 
the business of securitization, or bundling and selling mortgages.” Marian Wang, Backgrounder: A Closer Look at
MERS, the Industry’s Controversial Mortgage Clearinghouse, ProPublica (March 7, 2011).
2
  As a preliminary matter, an understanding of the terms attached hereto in E xhibit J are essential understanding
this White Paper.
3
 Marian Wang, Backgrounder:  A  Closer  Look  at  MERS,  the  Industry’s  Controversial  Mortgage  Clearinghouse,
ProPublica (March 7, 2011).
4
 See Christopher L. Peterson, Foreclosure, Subprime Mortgage Lending and the Mortgage Electronic Registration
System, University of Cincinnati Law Review (Summer 2010) Vol. 78, No. 4. See also Written Testimony of
Christopher L. Peterson, Foreclosed Justice: Cause and Effects of the Foreclosure Crisis, United States House of
Representatives Committee on the Judiciary (December 2, 2010).
5
  As an example, see In re Agard (United States Bankruptcy Court, Eastern District of New York, February 10,
2011) Case No. 8-10-77338, Doc. 41 where the court held that MERS lacked the legal standing to transfer the
ownership of mortgages on behalf of banks.  In his opinion Judge Robert E. Grossman stated “This court does not 
accept the argument that because MERS may be involved with 50 percent of all residential mortgages in the country,
that is reason enough for this court to turn a blind eye to the fact that this process does not comply with the law.”  
6
   Including the Office of the Comptroller of Currency, the Federal Reserve, the Federal Deposit Insurance
Corporation and the Federal Housing Finance Agency. Marian Wang, Backgrounder: A Closer Look at MERS, the
Industry’s Controversial Mortgage  Clearinghouse, ProPublica (March 7, 2011). See also Nick Timiraos, Critical
S igns in Foreclosure Talks, The Wall Street Journal (April 12, 2011) (giving  status  of  settlement  with  states’ 
attorneys’ general and federal regulators and lenders).

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transfers that were not recorded because MERS was listed as the mortgagee in public land
records. 7

       What  none of the  “experts,” reporters, or courts are analyzing (in specific terms) is the
destructive effect that the MERS system will have on 400 years of recorded property rights in the
United States. Most articles mention the lost chain of title but stop short of explaining what this
means, or how it will affect people that may not have a mortgage, much less a mortgage in the
MERS system. These  problems  deal  with  ramifications  “on  the  ground”  for  determining  (1) 
property boundaries (senior and junior property rights) and (2) proof of ownership in order to
obtain title insurance. As shown below, these MERS created problems will affect both
foreclosed properties and all of their neighboring properties amounting to much larger and more
costly problems than have been previously addressed by the media, lawmakers, courts or any
settlements with MERS.

       Because MERS is utilized for transferring title and these transfers are not publicly
recorded, MERS does not comply with race/notice8 statutes and senior and junior property rights
cannot be determined when there is a discrepancy in property boundaries. In fact, MERS has
undone hundreds of years of recorded property rights leaving property owners to litigate their
boundaries. This assertion sounds extreme; however, it is absolutely true. Consider these
questions:

                   1. What happens if the chain of title cannot be determined
                      because there are no accurate and publicly recorded deeds/title
                      documents showing chain of title to determine senior and
                      junior rights designations for boundary determinations between
                      neighbors?

                   2. What happens when you destroy the property rights and
                      records of homeowners who never defaulted on their
                      mortgages and are now forced to litigate boundary disputes and
                      property rights?

                   3. Why did the title insurance companies repeatedly refuse to
                      underwrite foreclosures if land title was stable?

7
  See article by Austin Kilgore, Recorder Wants to Close Account at Bank of America to Protest MERS , National
Mortgage News (April 11, 2011) Section: NEWS, pg. 8, Vol. 35, No. 28 regarding Registrar of Deeds in South
Essex District of Massachusetts.

 “MERS  saved  banks  time  and  money  by  providing  a  private,  electronic  alternative  to  the  public  system  used  by 
local government recorders. By using the MERS registry, they largely avoided the recording fees.”  Marian Wang, 
Backgrounder: A Closer Look at MERS, the Industry’s Controversial Mortgage Clearinghouse, ProPublica (March
7, 2011).

8
 For the purposes of this paper, we are not distinguishing the differences between race, notice and race/notice.
Race/notice is meant to encompass all designations.


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       These are the exact problems that MERS has created – the bigger problems that no one
has explained – the elephant in the room. In a rush to buy and sell mortgages as quickly as
possible, lenders have also destroyed and/or severely diluted over 400 years of land title records
dating back to the colonial United States (back to 1850 in California). This destruction/dilution
means that litigation is the only way to resolve boundary disputes. We will never be able to
determine senior (superior) and junior (inferior) property rights designations because no one will
know which parcels were conveyed first in time and to whom. We are already seeing these
problems with the MERS system dealing with widely publicized mortgage foreclosures and
lenders’ inability to show that they own title to property at the time of foreclosure.

        The broken chain of title problem may have never been a problem if not for the millions
of foreclosed properties. Because mortgage lenders, via MERS, have not followed title statutes
specific to their respective states, they have also negated the rights created by race/notice
statutes. Because these race/notice statutes were violated, a property owner (who may not even
be in the MERS mortgage system) may have lost his property rights. Stated another way, if the
chain of title is lost for a given property, any property that shares a common property boundary
line, may have lost its superior rights and that owner will be required to litigate if the property’s 
boundary is questioned. In essence,  “Zombie  Loans”  are  created  by MERS. These Zombie
Loans never die (they keep coming back to life), they mutate and they multiply.

       Furthermore, with clouded titles, subsequent purchasers of these properties will not be
able to obtain title insurance without providing indemnification via a warranty deed or
comparable document, and, without title insurance, these purchasers will not be able to obtain
financing on the properties.

                                                T wo E xamples

                 1.       A neighbor’s property sale (with disclosure issues) created
                 duress for an 83 year old widower trying to settle his estate. There
                 was confusion as to the property line location in the magnitude of
                 9’  feet.  It also cost him approximately $10,000 (even at a
                 discounted rate) and 18 months of time. In this case, the chain of
                 title was broken in 1968 in connection with (1) a foreclosure; (2) a
                 subsequent bankruptcy; and (3) a transfer to a now defunct savings
                 and loan. The title insurance company recognized the lost chain of
                 title problem when it issued a title insurance policy and wrote an
                 exception to coverage for that problem.9 The self-employed
                 architect owner (neighbor) chose not to sue for title insurance
                 coverage  due  to  his  costs  in  attorneys’  fees  in  a  downturned 
                 economy. See E xhibit A, detailed description of this case.



9
  Title insurance companies only paid claims equivalent to 5% of premiums collected in loss and loss adjustments in
2005. This 5% payout is contrasted to a 73% payout of premiums collected toward property/casualty claims during
this same timeframe. United States Government Accountability Office, GAO-07-401 (April 2007), pg. 9.
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                2.       A land surveyor, presumably trained in title work, chose
                not to examine a chain of title in the course of a survey. This
                litigation resulted in a 2010 settlement of approximately $500,000
                (plus an additional several hundred thousand dollars in  attorneys’ 
                fees) wherein Mr. Woolley served as an expert witness. This
                litigation resulted from not properly examining rights established
                by reviewing available chain of title documents. A broken chain of
                title removes the option of determining the rights and this case
                demonstrates costs and ramifications.

        The MERS system has created an environment in which tens of thousands of titles have
been lost or diluted in a sea of other MERS transactions and may take a hundred years to fix,
while forcing innocent homeowners to litigate in order to reclaim their property rights. This
article will:
               1.      Briefly discuss the robo-signer scandal, the problem with the MERS
                       system and recent court cases involving MERS;

                2.      Summarize the history of how land was surveyed and divided in the
                        Western United States;

                3.      Explain how junior and senior property rights are determined in the face of
                        a boundary dispute;

                4.      Describe exactly how MERS has destroyed or severely diluted chains of
                        title for boundary disputes between foreclosed properties’  subsequent 
                        owners and all of their neighbors;

                5.      Analyze the resulting difficulty these subsequent homeowners and their
                        neighbors will experience when attempting to sell their properties (with
                        clouded titles) when purchasers will not be able to obtain title insurance
                        (without seller indemnity) and financing.

                                                    II

                          R O B O-SI G N E R M O R T G A G E F R A U D
       Six months ago, the American public was unfamiliar with  the  term  “robo-signer” 
describing loan processors and attorneys signing as many as 10,000 foreclosure documents a
month.10 The so called robo-signers executed documents like robots, without review of the
documents’ contents. These signatures became problematic in the 23 states that use the judicial
process to foreclose on real property because the attorney or agent sign affidavits stating that

10
  Ariana Eunjung Cha and Brady Dennis, Under Piles of Paperwork, a Foreclosure Syste m in Chaos , Washington
Post (September 23, 2010).
http/www.washingtonpost.com/wp-dyn/content/article/2010/09/22/AR2010092206146.html

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he/she has completely reviewed the file and certifies that the foreclosure documents comply with
all statutes - all at the unimaginable rate of 500 documents a day.



       A foreclosure mill is created in the following scenario. A loan is securitized through
MERS (wherein MERS is presumably the mortgagee holding land title and is also named the
nominee by the promissory note holder). At this point the promissory note and the mortgage are
separated. The promissory note is then pooled with other promissory notes, repackaged, resold
and haphazardly tracked (or not tracked at all) through the private MERS system but is not
publically recorded. As promissory notes are sold and divided (tranches), assignments are not
publically recorded and promissory notes were lost or misplaced. Subsequently, when a property
goes into default, the foreclosing party must prove ownership (standing) to foreclose. This
becomes a problem. The last promissory note assignee, (who may or may not possess the
promissory note) claims ownership. Meanwhile, the land title mortgage may be held by MERS.

       Banks have subsequently argued, with limited success, that even though separated, the
mortgage actually follows the note. It is the marriage of the promissory note (often times lost or
non-existent) and the mortgage (after lost or non-existent assignments) that created robo-signer
fraud. Using robo-signers to falsify and recreate these previously lost or non-existent documents
was the remedy created by the servicers – resulting in fraud, forgery and falsification of legal
documents. The irony of the foreclosure mills and robo-signers is that the front line bank teller
requires multiple forms of identification, thumb prints and signature verifications while the same
banks use robo-signers to create tens of thousands of forgeries.

       Accurate foreclosure and loan paperwork is essential to properly foreclose on the correct
residential property, after giving the owner proper notice and an opportunity to cure the defaulted
mortgage. Failure to properly review foreclosure paperwork and fabrication of documents, using
inaccurate or incomplete information, results in wrongful eviction of homeowners and
foreclosure on incorrect properties. Many lenders (including Fannie Mae and Freddie Mac)
turned to law firms (“foreclosure  mills”)  that specialized in quick processing of thousands of
foreclosures for banks.11

        This conduct at foreclosure mills reached fraudulent levels and caused the fifty (50) states
Attorneys’  General  to  convene  a  committee  to  investigate  this  fraudulent activity by mortgage
servicers.12 Additionally, the Office of the Comptroller of Currency, the Federal Reserve, the
Office of Thrift Supervision and the Federal Deposit Insurance Corporation are negotiating with



11
   Stephanie Armour and Thomas Frank, Ex-worker:  Florida  Law  Firm  Ran  “Foreclosure  Mill”, USA Today
(October 18, 2010).
http://www.usatoday.com/money/economy/housing/2010-10-18-witness-foreclosure-documents_N.htm
12
  Lorraine Woellert, Dakin Campbell and Carter Dougherty, Mortgage Servicers S aid To Agree to F ix Foreclosure
Procedures, Bloomberg (April 5, 2011). See also Dave Clarke, Update 1 – Iowa AG Looks To Foreclosure Deal
Within 2 Months, Reuters.com (March 7, 2011).

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the largest U.S. mortgage servicers and signing consent decrees to improve foreclosure
procedures.13

         The Federal Reserve recently requested that Bank of America buy back residential
mortgage backed securities (“RMBS”),  exclusive of the commercial mortgage market, totaling
$47 billion.14 These securities were called into question when authorities discovered the robo-
signer problem. Fannie Mae and Freddie Mac requested that Bank of America buy back RMBS
totaling $5.6 billion in June 2010.15 Bank of America, in turn, sued the FDIC for $1.74 billion
for buy backs.16 Bank of America has also sued First American Title claiming that First
American has refused to cover more than 5,500 loans that have caused $535 million in losses.17

        These issues will be sorted out in litigation and it will be interesting to see if banks have
the capital to deal with these claims.
                                                        III

                                          T H E M E RS SYST E M
A.         W hat Is M E RS?

        MERS is a corporation registered in Delaware and headquartered in the Virginia suburbs
of Washington, D.C.18 MERS operates a computer database designed to track servicing and
ownership rights of mortgage loans anywhere in the United States.19 Originators and secondary
market players pay inexpensive membership dues and per-transaction fees to MERS in exchange
for the right to use and access MERS records.20 In addition to tracking ownership and servicing
rights, when closing on home mortgages, many mortgage lenders now list MERS as the


13
  Lorraine Woellert, Dakin Campbell and Carter Dougherty, Mortgage Servicers S aid To Agree to F ix Foreclosure
Procedures, Bloomberg (April 5, 2011).
14
  “Securitization” refers to mortgage loans pooled into trusts and converted into mortgage-backed securities that can
be bought and sold by investors. U.S. Bank National Association v. Ibanez (January 7, 2011, SJC-10694), slip
opinion found at www.massreports.com/SJCCases/
15
  ADMIN Staff, Bank of America Corp. (NYS E: BAC) Has $11.1 Billion In Mortgage Purchase Requests ,
American Banking and Market News (August 9, 2010). http://www.americanbankingnews.com/2010/08/09/bank-of-
america-corp-nyse-bac-has-11-1-billion-in-mortgage-purchase-requests/#
16
   Karen Gullo, F DIC Sued By Bank of America Over Taylor Bean Mortgage Losses , Bloomberg (October 19,
2010). http://www.bloomberg.com/news/2010-10-20/bank-of-america-sues-fdic-over-taylor-bean-mortgage-s-1-75-
billion-losses.html
17
  David Mildenberg, Bank of America Sues F irst A merican On Lien Protection Claims, Bloomberg Businessweek
(February 22, 2011).
18
     Carson Mullen, MERS : Tracking Loans Electronically, Mortgage Banking (May 31, 2000), pg. 63.
19
     Howard Schneider, MERS Aids Electronic Mortgage Progra m, Mortgage Banking (January 1, 1997), pg. 42.
20
     Id.

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“mortgagee  of  record”  on  the  paper  mortgage  rather  than  the  real mortgagee.21 MERS was
designed to improve the efficiency and profitability of the primary and secondary mortgage
markets.22 The benefit of naming MERS as the nominal mortgagee of record is that when the
member transfers an interest in the mortgage loan to another MERS member, MERS privately
tracks the assignment within its system but remains the mortgagee of record in publicly recorded
documents.23 In 2011, MERS proposed a rule change to stop members from foreclosing in its
name.24

A.         M E RS Connection To Sub-Prime Loans and Securitization

        Before 1995, a qualified home buyer applied for a mortgage loan (whole-loan) with
his/her local bank, credit union or savings and loan.25 The credit worthy borrower agreed to
make payments until the mortgage debt was paid in full. Beginning in approximately 1995, a
new breed of loan came into play – the sub-prime loan. These loans (often times for 100% or
more of the market value of the residential property) and no longer dependent upon a borrower’s 
credit worthiness, changed the landscape of mortgage lending, leading in part, to the current
foreclosure crisis. These loans were created and then supported by law makers. For example,
according to Congresswoman Maxine Waters:

                    “Under the outstanding leadership of Mr. Frank Raines, everything
                    in the 1992 act has worked just fine. In  fact,  the  GSE’s  [Fannie 
                    and Freddie] have exceeded their housing goals. What we need to
                    do today is to focus on the regulator and this must be done in a
                    manner so as not to impede their affordable housing mission. A
                    mission that has seen innovation flourish from desktop
                    underwriting to one hundred percent loans.” 26 [emphasis
                    added]

           We can be sure that Representative Waters wishes she could pull back this statement.

      Mortgage lenders, knowing that their borrowers were not credit worthy and that the
borrowers’ home mortgages would almost certainly end in default, unloaded these loans as

21
     R.K. Arnold, Yes, There Is Life On MERS, 11 Prob. & Prop. (July/August 1997), pgs. 32-34.
22
  John R. Hooge and Laurie Williams, Mortgage Electronic Registration Systems, Inc.: A Survey of Cases
Discussing MERS Authority To Act , Norton Bankruptcy Law Advisor (Thomas Reuters, August 2010) Issue No. 8.
23
     Id.
24
  Laura Marcinek, BofA, Citigroup Say Mortgage Database Draws Scrutiny In Foreclosure Probe , Bloomberg
(March 2, 2011).
25
  Scot Paltrow and Leslie Adler (editor), F actbox: The Role of MERS In Foreclosure Furor, Reuters, Edition US
(October 13, 2010). http://www.reuters.com/article/idUSTRE69C69720101013

26
  Congresswoman Maxine Waters        (D-CA) in a September, 2003, hearing of the House Committee on Financial
Services.

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quickly as possible to large institutional banks, who, in turn, bought and sold them amongst
themselves and subsequently pooled the loans into trusts and converted them into mortgage
backed securities (also referred to as collateralized debt obligations or “CDOs”  - meaning that
the asset behind the paper is real property) that could be bought and sold by and to investors.27
These mortgage backed securities were almost uniformly rated AAA or Aaa by Fitch, Moody’s
and Standard & Poors.28 The AAA rating was appealing to risk adverse investors and the
mortgage backed securities ended up in conservative pension funds such as CalPERS and
conservative investment brokerage funds owned by companies such as MetLife, Blackrock, Inc.
and Allstate.29 In the midst of creating these trusts and mortgage backed securities, MERS was
created to shuffle these loans quickly between lenders leaving homeowners unable to find out
who actually owned their mortgage at any given time.30

                 “Mortgages would be changing hands dozens of times, going from 
                 loan originators to banks to Wall Street investment houses, which
                 would collect them by the thousands and package them in complex
                 debt instruments that would be chopped up into shares and sold off
                 to multiple investors all over the world.” 31

B.       W hat Is W rong W ith M E RS

       MERS was set up to electronically move paper at a high rate of speed to accommodate
the securitization of mortgages and to avoid the time and cost associated with the local county
recording process. The creation of MERS allowed mortgage companies to list MERS as the
proxy for the true mortgage holder in local government records and to record subsequent changes
of ownership in the M E RS system only.32 After the financial collapse of 2008, MERS began
foreclosure actions on behalf of lenders.33 A spokeswoman for Fannie Mae told the Times that

27
  Levine, Yasha, Dude, Where’s My Mortgage? How a Corrupt Outfit Called MERS Is Destroying Our System of 
Property Rights, The eXiled (2010).
28
   Peter Cohan, Behind the $4 Trillion in C D Os: Sneaky Banks and Worthless Ratings , Daily Finance - An AOL
Money and Finance Site (April 26, 2010) (also stating that 93% of the rating AAA were downgraded to junk).
http://www.dailyfinance.com/story/explaining-the-4-trillion-cdo-scam-worthless-ratings-hide-inve/19452807/
29
  Analyst Blog – Zack’s Investment Research, Allstate Sues BofA on MBS Purchase (December 30, 2010).
http://www.zacks.com/stock/news/45341/Allstate+Sues+BofA+on+MBS+Purchase
30
  This lack of knowledge often led to payments made to the wrong bank or lender because the homeowner could
not look to publicly recorded deeds to determine the ever changing identity of their lender. Michael Grover, F ed-led
Research Reveals Need For Better Twin Cities Foreclosure Data , The Federal Reserve Bank of Minneapolis
(September 2006). http://www.minneapolisfed.org/publications_papers/pub_display.cfm?id=2200

31
  Levine, Yasha, Dude, Where’s My Mortgage? How a Corrupt Out fit Called MERS Is Destroying Our System of
Property Rights, The eXiled (2010).
32
  Marian Wang, Backgrounder: A Closer Look at MERS, the Industry’s Controversial Mortgage Clearinghouse,
ProPublica (March 7, 2011) [emphasis added].
33
  Robbie Whelan, Lawmaker Questions Power To Foreclose , The Wall Street Journal, Real Estate Section
(November 1, 2010). http://online.wsj.com/article/SB10001424052748704865104575588791583567372.html
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the company could never rely on MERS to find ownership of a loan.34 In 2010, Alan M. White, a
law professor at Valparaiso University Law School in Indiana, matched MERS ownership
records against those in the public domain and found that fewer than 30 percent of the mortgages
had an accurate record in MERS.35 Robo-signed documents, inaccurate or non-existent record
keeping, the failure to publically record assignments of mortgages and the use of MERS as the
mortgagee  or  nominee  have  led  to  the  homeowners’  inability  to  figure  out  who  owns  and  is 
servicing their mortgages or to trace back their chain of title in a boundary dispute. In using the
inaccurate and alleged fraudulent MERS system, banks are actually denying homeowners their
due process rights before losing their homes to foreclosure.

        As stated above, MERS system allowed the lenders to avoid the time and expense of
going  through  the  County  Recorder’s  office  to  file  and  record  title documents. This practice
means that MERS also robs County Recorders of filing fees. In fact, various county recorders
have begun to take action attempting to recoup some of these fees. In Massachusetts, South
Essex Register of Deeds John O’Brien reported that  he had received a  green light  to  withdraw 
what could be millions of dollars from Bank of America accounts by arguing that banks have
used MERS to deny the South Essex registry millions of dollars in fees to which it was entitled.36

       Homeowners’  attorneys  argued  that  MERS  did  not  have  a  right  to  initiate  foreclosure 
actions because MERS did not hold the title and the corresponding note to the properties.37
These same attorneys also argued that the MERS system did not accurately show exactly which
lender holds title via a trust deed on the foreclosed property. Furthermore, MERS created an
enormous problem because, even if a property is successfully foreclosed upon by a lender via
MERS (that does not actually have title and the corresponding note to the property), that lender
may be prohibited from reselling the property. The lender cannot sell that which it does not own.
According the recent rulings, without proof of title and the note there is no standing to
foreclose.38

       MERS was set up without considering how it would destroy or seriously dilute accurate
and recorded chain of title records, in the event of mass foreclosures, thereby taking away
property rights, legal theories and defenses available to all property owning Americans –


34
  Marian Wang, Backgrounder: A Closer Look at MERS, the Industry’s Controversial Mortgage Clearinghouse,
ProPublica (March 7, 2011).
35
  Marian Wang, Backgrounder: A Closer Look at MERS, the Industry’s Controversial Mortgage Clearinghous e,
ProPublica (March 7, 2011).
36
  Eric Convey, Deeds Head Gets O K To Yank BofA Funds, Boston Business Journal (April 6, 2011). See also
Austin Kilgore, Recorder Wants To Close Account At Bank of A merica To Protest MERS , National Mortgage News
(April 11, 2011).
37
     See Section II (D) below.
38
  See U.S. Bank National Ass’n  v. Ibanez (January 7, 2011) 458 Mass. 637, 2011 Mass. LEXIS 5; See also In re
Agard (United States Bankruptcy Court, Eastern District of New York, February 10, 2011) Case No. 8010-77338,
Doc. 41. http://findsenlaw.files.wordpress.com/2011/02/ny-bk-in-re-agard-feb-2011.pdf

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including Americans who never went into foreclosure. Already, proofs of titles (chains of title)
have been lost in the frenzy of trading and packaging these mortgages into mortgage backed
securities. Today, MERS servicers and related foreclosure mills are literally breaking a centuries
old custom that protected property rights by requiring every sale of property to be publically
recorded (pursuant to race/notice statutes) and requiring that any creditor claiming a right to
foreclose demonstrate clear title (with an endorsed note in the creditor’s name and a record at the 
county office showing transfer of the property).

       Homeowners can no longer search public records to find out who held their mortgage
because the record shows MERS as the mortgage holder and/or the purchaser of the foreclosed
property, even though financial entities may act as a trustee to transactions. In the event the
chain of title is lost, MERS has a negative effect on the mortgaged homes, and each adjoining
property adjacent to those homes (even those homes with no mortgage). See Section V below.
See also E xhibit E.

       In defense of the MERS business model, MERS CEO and President R.K. Arnold has
suggested they followed a model put forth by the GSEs’ (Fannie and Freddie).39 There are few
redeemable qualities or procedures put forth by the GSEs. If not for the taxpayers they would
have failed due to an accounting scandal which occurred long before the current crisis.

        A lender’s desire to quickly kick out a family, rack up fees and then sell the same house 
again, is no reason to deny every American homeowner the same due process protections
historically given to them by keeping accurate and recorded title records and by allowing the
judicial system to require proper notices, deeds and signatures before evicting Americans thereby
satisfying Wall Street. Bank of America CEO Brian Moynihan stated these loans will be fought
“day-to-day, hand-to hand-combat”  presumably one loan at a time.40To  say  Wall  Street  didn’t 
know or understand real property laws is entirely ridiculous. Real property is taught to every
first year law student and Wall Street is certainly loaded with lawyers. Arguably, it was the
skullduggery  of  Wall  Street’s  attorneys  together  with  the  MERS  member  organizations  that 
created the toxin which will result in their demise.

        MERS is simply not a viable substitute for the 400 year old system of publicly recording
deeds (pursuant to race/notice statutes) available for anyone to reference in determining property
rights.

C.      Recent Court Rulings Regarding M E RS and Securitization

       MERS and securitization problems have been coming to light in several publicized court
cases. A sampling of these recent cases includes:


39
  Arnold, R.K., Remarks and Testimony, Before the Senate Committee on Banking, Housing and Urban Affairs,
(November 16, 2010).
40
  Hugh Son and David Mildenberg, Bank of America In Hand-To-Hand Combat Over Mortgage Disputes, CEO
Says, Bloomberg (November 16, 2010).

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           1.     U.S. Bank National Association v. Ibanez

        The Massachusetts Supreme Court recently (January 7, 2011) affirmed  a  lower  court’s 
invalidation of two home foreclosures, stating that lenders Wells Fargo Bank and US Bank had
failed to prove that they owned the mortgages.41 The Massachusetts case, entitled U.S. Bank
National Association v. Ibanez (January 7, 2011) 458 Mass. 637, 2011 Mass. LEXIS 5
(“Ibanez”) dealt with loans that had been pooled into mortgage-backed securities. The two
foreclosures were made in the names of Wells Fargo and US Bank, however, neither of the banks
had written mortgages.42 Instead, they were acting as trustees, or financial caretakers, for pools
of loans made and serviced by other lenders.43

           In Ibanez, the Massachusetts’ Supreme Court stated:

                  “We  agree  with  the  judge  that  the  plaintiffs,  who  were  not  the 
                  original mortgagees, failed to make the required showing that
                  they were the holders of the mortgages at the time of
                  foreclosure. As a result, they did not demonstrate that the
                  foreclosure sales were valid to convey title to the subject
                  properties, and their requests for a declaration of clear title were
                  properly denied.”44

        The Court stated that, for plaintiffs to obtain the judicial declaration of clear title, they
had to prove their authority to foreclose under the power of sale and show their compliance with
the requirements on which this authority rests.45 Plaintiffs could not provide this proof.46
Plaintiffs had the authority to exercise the power of sale contained in the mortgages only if they
were assignees of the mortgages at the time of the notice of sale and subsequent foreclosure
sale.47 Furthermore, the Court held that, like a sale of land itself, the assignment of a mortgage is
a conveyance of interest in land that requires a writing signed by the grantor.48

41
   E. Scott Reckard, Foreclosure Ruling Could Be Setback For Banks, Los Angeles Times (January 7, 2011).
latimes.com/business/la-fi-foreclosure-ruling-20110107,0,7857552.story
42
     Id.
43
     Id.
44
  U.S. Bank National Association v. Ibanez (January 7, 2011) 458 Mass. 637, 2011 Mass. LEXIS 5 [emphasis
added].
45
     Id.
46
     Id.
47
   Id. (citing In re Schwartz (Bankr.D.Mass.2007) 366 B.R. 265, 269 (“acquiring the mortgage after the entry and 
foreclosure sale does not satisfy the Massachusetts statute”).
48
     Id.

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       In Ibanez, the Supreme Court of Massachusetts ruled that defendants’ foreclosures must 
be undone because industry securitization practices violated real estate law governing how
mortgages may be transferred.49 Massachusetts is one of 27 non-judicial foreclosure states.
Although this ruling is only binding in Massachusetts, we can expect the other 26 states to more
closely examine their previous lower court rulings. T he end result may be an individual
homeowner that owes the holder of their note the dollar value of the mortgage on the
property, however, the property itself is no longer collateral for the loan.

           Other courts have agreed with the reasoning in Ibanez. For example:

                  “It  is  the  general  rule  that  courts  have  power  to  vacate  a 
                  foreclosure sale where there has been fraud in the procurement of
                  the foreclosure decree or where the sale has been improperly,
                  unfairly or unlawfully conducted, or is tainted by fraud, or where
                  there has been such a mistake that to allow it to stand would be
                  inequitable to purchaser and parties.”50

       The Ibanez problem highlights the flaws with the securitization process and the MERS
system, the failure to publically record deed transfers and conveyances (along with sloppy
paperwork) led these mortgage transfers to be deemed invalid.

           2.     In re Agard

       In the course of the bankruptcy case of In re Agard, a creditor sought relief from an
automatic stay to foreclose on a second interest in  the  debtor’s  real  property.51 MERS, as an
intervener, argued that the terms of its membership agreement with the original lender and its
successors in interest, as well as New York state agency laws, gave MERS the authority to assign
a mortgage.52 MERS argued that it held legal title to mortgages for its members/lenders as both
“nominee” and “mortgagee of record.”53

       In his highly critical response  to  MERS’s  request  that  the  Court  analyze  the  MERS 
business model, Judge Robert E. Grossman stated:


49
   Thom Weidlich, Foreclosures May Be Undone by Massachusetts Ruling on Mortgage Transfers, Bloomberg
(January 6, 2011). www.bloomberg.com/news/print/2011-01-06
50
   6 Angels, Inc. v. Stuart-Wright Mortgage, Inc. (2001) 85 Cal. App. 4th 1279, 1286. See also In re Agard (United
States Bankruptcy Court, Eastern District of New York (February 10, 2011) Case No. 8-10-77338, Doc. 41.
http://findsenlaw.files.wordpress.com/2011/02/ny-bk-in-re-agard-feb-2011.pdf
51
  In re Agard (United States Bankruptcy Court, Eastern District of New York, February 10, 2011) Case No. 810-
77338, Doc. 41.
52
     Id.
53
     Id.

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                     “The  Court  recognizes  that  an  adverse  ruling  regarding  MERS’s 
                     authority to assign mortgages or act on behalf of its
                     members/lenders could have a significant impact on MERS and
                     upon the lenders which do business with MERS throughout the
                     United States. . . . This Court does not accept the argument that
                     because MERS may be involved with 50% of all residential
                     mortgages in the country, that is reason enough for this Court to
                     turn a blind eye to the fact that this process does not comply with
                     the law. 54

        The Court rejected MERS arguments that it acted as nominee, mortgagee or agent adding
that “in all future cases which involve MERS, the moving party must show that it validly holds 
both the mortgage and the underlying note in order to prove standing before this Court.” 55

           3.        In re Salazar

        In the United States Bankruptcy Court, Southern District of California case entitled In re
Salazar, debtor Salazar sought to reinstate his US Bank loan against his residence and cure his
default, and creditor US Bank sought relief from stay in the bankruptcy to proceed with its
unlawful detainer action. 56 The Court held:

                      “US Bank, as the foreclosing assignee, was obligated to record its 
                     interest  before  the  sale  despite  MERS’  initial  role  under  the  deed 
                     of trust, and this role cannot be used to bypass [California] Civil
                     Code section 2932.5.57 Since US Bank failed to record its interest,
                     Salazar had a valid property interest in his residence that is entitled
                     to protection through automatic stay.”58

        In Salazar , the Court concluded that MERS original involvement in the loan did not
provide talismanic protection against US Bank’s foreclosure deficiencies, that US Bank’s failure 
to record its beneficiary status before foreclosure left Salazar with equitable title to his residence
and that Salazar had demonstrated a prima facie case that the foreclosure sale was void.59 “The 

54
     Id. [emphasis added].
55
     Id.
56
  In re S alazar (United States Bankruptcy Court, Southern District of California, April 11, 2011) 2011 Bankr.
Lexis 1187.
57
   California Civil Code § 2932.5 requires a creditor to record an assignment of its interest before foreclosure. In
order to comply with this statute, US Bank had to (1) be entitled to payment of the secured debt and (2) US Bank’s 
status as foreclosing beneficiary appear before the sale in the public record title for the property. In re S alazar ,
supra, 2011 Bankr. Lexis 1187.
58
     In re S alazar , supra, 2011 Bankr. Lexis 1187.
59
     Id.

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borrower concern addressed by California Civil Code section 2932.5 – that it be able to identify
the assignee of its loan – is more exigent, not less, than it was during the Great Depression.”  60
The Court held:

                    “The Court rejects the claim that MERS’ limited role in the DOT 
                    [deed of trust] provides it carte blanche authority over the non-
                    judicial foreclosure process.”61

        See also Michigan Court of Appeals opinion dated April 21, 2011 holding that MERS is
not a proper party to conduct a foreclosure by advertisement under Michigan Law.62 In this
opinion, the Michigan Court of Appeals held that defendants were not entitled to judgment as a
matter of law because, pursuant to Michigan statute, “MERS did not own the indebtedness, own 
an interest in the indebtedness secured by the mortgage, or service the mortgage and MERS
inability to comply with the statutory requirements rendered the foreclosure proceedings in both
cases void ab initio.”63

        See also In re Vargas64 (denying relief from bankruptcy stay, imposing sanctions and
stating that MERS had failed to prove that it was the proper party to enforce the note and that
MERS was not able to prove the identity of the current note holder); In re Walker 65 (claimant of
note was not allowed to assert claim of property when it failed to present evidence that the
nominee (MERS) had any interest in the note to transfer to claimant).

                                                    IV
                            L A N D D I V ISI O N A N D C H A I N O F T I T L E
                                     I N T H E U N I T E D ST A T ES
A.         A B rief H istory L esson

        What does it mean to be an American? Arguably, in the broadest sense, the answer is
freedom. When coming to the New World, European settlers sought freedom from religious
persecution and freedom to own, develop and occupy land. The concept of land title is uniquely
American. Historically, Native Americans had no concept of written title because they did not
believe that any person could “own” land.  European settlers changed this belief by imposing the 
concept of land ownership by individual people on the New World of America. Today, the


60
     Id.
61
     Id.
62
  Residential Funding Co., LLC v. S aurman and Bank of New York Trust Company v. Messner (consolidated) (State
of Michigan Court of Appeals, April 21, 2011) 2011 Mich. App. Lexis 719.
63
     Id.
64
     In re Vargas (United States Bankruptcy Court, Central District of California, 2008) 396 B.R. 511.
65
     In re Walker (United States Bankruptcy Court, Eastern District of California, 2010) 2010 Bankr. Lexis 3781.
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concept of stable individual  “land  ownership”  separates  America  from  most  of  the  rest  of  the 
world. In the United States, the following key concepts are true:

           Real property law rights and defenses all tie to accurate and publically recorded chain
            of title and property ownership records at the county level.

           Accurate publically recorded chain of title documents are critical in determining land
            ownership (senior and junior property rights) avoiding the need for litigation.

           There is no federal law governing private property rights. Therefore, a federal system
            of title (electronic or otherwise) is not feasible.

           Each state has its own property laws and is individually responsible for maintaining
            records at the county level in conformance with the UCC.

           The stability of the land title is paramount in preserving land ownership and
            maintaining civil harmony.

           Real property is a secure and valuable investment.

           Land equates with wealth and it is our second most valuable resource.

        As early as 1891, the California legislature recognized that land subdivided by way of a
written description was prone to title defects, gaps, gores and overlaps which resulted in
expensive litigation. At that time, California (and most other states) enacted laws that required a
land surveyor to file a public record each time one of these property lines was established by a
surveyor. These laws were intended to make the property line determinations available to the
public, thus avoiding litigation to resolve disputes associated with unfiled records or unclear
boundaries.

       For the Western United States, the history of land division began with the Louisiana
Purchase of 1803. According to this statute and pursuant to the Land Act of 1805, land was to be
surveyed west of the Mississippi River all the way to California (excluding Texas at that time).
Government Land Office (“GLO”) surveyors, beginning in Ohio, were tasked with subdividing 
land into one square mile sections – each containing 640 acres. Historically, most properties
with a metes and bounds description have potential inaccuracies. Of the thousands of sections of
land (640 acre parcels) surveyed after the Louisiana Purchase of 1803 and the Land Act of 1805,
between the Mississippi River and the Pacific Ocean, no two parcels are exactly the same when
measured on the ground due to rough terrain, bad weather, antiquated instruments and,
sometimes, surveyors’ failure to survey at all. 66



66
  Francois D. Yzes, Chaining the Land: A History of Surveying In California (1977). See also Anne L. Hoppe,
PLS, MSCE, Subdividing California: The Evolution of the Subdivision Map Act , California Surveyor (Winter
2010).

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        These subdivided 640 acre parcels were sold/homesteaded based on a government plat
showing perfect rows of sections; however, these only existed on paper.67 The differences
between sections varied from a few inches to several hundred feet or even several acres. Like
snowflakes, each 640 acre section is different. In California, modern day surveyors are still
discovering undocumented fraud dating back to the 1870s. These discrepancies are uncovered
today when a survey is completed because one neighbor wants to remodel, put in a fence and/or
a boundary dispute arises between neighbors. Even today in California, alleged land surveying
fraud is prevalent and the statutes governing the practice are frequently ignored.

        Keeping this history in mind, it is easy to see why material discrepancies in title arise and
become the basis of land boundary litigation. The only way to resolve these boundary locations,
absent litigation, is by examination of the chain of title to determine senior and junior property
rights and divide the land according to these principles. Without a clear chain of title, resolution
of land boundary disputes is dependent upon complex and expensive litigation, or at a minimum,
a combination of land surveying and dispute resolution among the parties and their counsel.

B.          The  Surveyor’s  Role  – Determining Senior and Junior Property Rights In
            Sequential Property Conveyances

        As a practical matter, the law (and surveyors) deal with boundary discrepancies
discovered by surveys (without the need for litigation) by examining the chain of title (found in
publically recorded documents and grantor/grantee indexes) back to the original grantor to
determine senior and junior rights for sequential conveyances. A piece of real property’s history 
of conveyances  from  one  owner  to  another  is  called  a  “chain  of  title.”    Chain  of  title  is 
specifically defined as:

                     “record  of  successive  conveyances,  or  other  forms  of  alienation, 
                     affecting a particular parcel of land, arranged consecutively, from
                     the government or original source of title down to the present
                     holder.” 68

         Because only evidence of ownership is recorded in these public records, to prove
ownership of a particular parcel, a property owner must show a continuous title record back to
the first conveyance that described the parcel. The compilation of all title ownership is known as
the chain of title or chain of record.69 When a portion of a tract of land is sold, two or more
parcels are created including a new parcel and the remainder of the parent parcel.70 A parcel is
apportioned according to well settled principles found in race/notice statutes. Because the new
parcel  must  receive  all  the  land  described,  it  is  called  the  “senior  deed”  (or  “senior  parcel”, 

67
     Francois D. Yzes, Chaining The Land: A History of Surveying In California (1977).
68
     Black’s Law Dictionary (6th ed. 1990), pg. 229.
69
  Brown, Curtis M., Walter G. Robillard, Donald A. Wilson, Brown’s  Boundary  Control  and  Legal  Principles,
supra, Glossary, pg. 432.
70
     Id. at § 11.2, pg. 301.

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“senior  rights”)  and the remainder, at the time  of  conveyance,  becomes  the  “junior  deed”. (or
“junior  parcel”,  “junior  rights”).71 “Sequential  conveyances”  are  those  written  deeds  in  which 
junior and senior rights exist between adjoining parcels.72 See E xhibit H for definition of
sequential and simultaneous conveyances. Stated another way, the first (in time) conveyance by
deed is called the senior conveyance. The next (in time) conveyance by deed is called the junior
conveyance. Three well established principles in law and in surveying are stated as follows:

                     1. “As between private parties in a land dispute, a senior right is 
                        superior to a junior right.”73

                     2. “As  between  private  parties,  a  junior  grant,  in  conflict  with  a 
                        senior grant, yields to the senior grant.”74

                     3. A grantor cannot convey what he does not own.75

                     4. Between equal equities, the first in order of time shall prevail.76

        These principals establish the rights of the parties when excesses or, more importantly,
when deficiencies in the amount of land conveyed to two parties occurs. California statutes
regulate the transfers of real property within California.77 See E xhibit B. Most states have
adopted the same or similar statutes.

            1.        Diagram A




71
     Id.
72
     Id.
73
     Id. at § 11.1, pg. 297.
74
     Id. at § 11.6, pg. 303.
75
     Caselli v. Messina (1990) 567 NYS 2d 972.
76
  Maxims of Equity, Wikipedia (http://en.wikipedia.org/wiki/Maxims_of_equity) (citing Richard Edwards, Nigel
Stockwell (Pearson Education, 2005) Trusts and Equity, pg. 34).
77
     See E xhibit B, California Civil Codes
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                                            Diagram A                                                                                       
                                   NORMAL CONVEYANCE (NON MERS)   

                                                     Original Grantor                           A believes he owns 
                                                                                                100 ft  but he really 
                                                            A                                       owns 95 ft. 

   
      A conveys East 50 ft to B 
    in 1960.  Sale is recorded 
          and traceable in 
    grantor/grantee index. 

   
                                                 A                      B 
   
                                          Remainder                   East 50 ft  
   
                                                                         (1960) 
   

   
A conveys West 50 ft to C in 
 1970 (but A only had 45 ft 
left to convey). C thinks he 
   
    owns West 50 ft. The 
 conveyance from A to C is 
   
 recorded and traceable in                                                                         B and C get into a 
   grantor/grantee index.                                                                        boundary dispute and 
                                                   C                     B                      have a survey done that 
                                                                                                determines the original 
   
                                           Remainder                  East 50 ft                parcel owned by A was 
                                                                                               only 95ft instead of 100 ft. 
   
                                              (1970)                     (1960) 
   

         1. B and C now have a problem. How is A’s original parcel divided?
         2. The division between B and C is determined by examining the chain of title (found in
            publically recorded documents and the grantor/grantee indexes) back to the original
            grantor A.
         3. B acquired the East 50 ft from A in 1960 leaving A with 45 ft.
         4. C acquired the West 50 ft from A in 1970, however, A only had 45 ft left to convey.
         5. Because B acquired his 50 ft first in time (superior), he keeps 50ft and C keeps the
            remaining 45 ft (junior).
         6. C’s deed is reformed to reflect 45 ft and this document is recorded.

          This basic example shows the importance of a clear chain of title in determining property
  rights in sequential conveyances, particularly when dealing with a previously flawed survey or
  an ambiguous conveyance. In the event that the chain of title cannot be recovered, owners will
  be forced to litigate boundaries because they will not be able to determine the senior rights – the
  exact problem created by MERS. See Diagram B below.


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         The surveyor (and the courts) study the chain of title from recorded public deeds/title
documents to determine senior and junior rights designations based on the portion of the parcel
that was conveyed first in time (pursuant to race/notice statutes) by the original grantor. Based on
existing case law, this boundary determination is made clearly and accurately without the need
for litigation as to the location of the property lines. Diagram A shows the importance of a clear
chain of title.

        In the event the chain of title cannot be recovered, owners will be forced to litigate
boundaries because they will not be able to determine senior rights. In the event that the parties
are not contentious, they may opt to have a boundary line agreement (not available in all states)
which is very expensive, time consuming (years) and if done incorrectly will further exacerbate
the problem. In order for a boundary line agreement to be binding, the owner must obtain a
modified deed of trust.

                                                         V

               H O W M E RS H AS B R O K E N O R D I L U T E D C H A I N O F T I T L E F O R
      B O U N D A R Y D ISPU T ES B E T W E E N F O R E C L OSE D PR O PE R T I ES A N D A L L O F
                                        T H E I R N E I G H B O RS

       In the midst of buying and selling mortgages between banks and creating mortgage
backed securities, MERS was created to shuffle home loans quickly between lenders, leaving
homeowners unable to find out who actually owned their mortgage at any given time.78 In
addition to tracking ownership and servicing rights, when closing on home mortgages, mortgage
lenders now often list MERS as the “mortgagee of record” on the paper mortgage rather than the 
real mortgagee.79 The  mortgage  is  then  recorded  with  the  county  property  recorder’s  office 
under  MERS,  Inc.’s  name  rather  than  under  the  lender’s  name.80 Historically, employees of
county recording offices kept records of each individual company that recorded mortgage loans
and mortgage loan assignments but not today – today MERS is the only company listed. 81

       In this process, while MERS  holds  mortgages  as  the  ‘mortgagee  of  record”  while 
promissory notes were separated and sequentially transferred from community bank to larger
bank to investment bank to mortgage backed security without these transfers between banks ever
78
  This lack of knowledge often led to payments made to the wrong bank or lender because the homeowner could
not look to publicly recorded deeds to determine the ever changing identity of their lender. Michael Grover, F ed-led
Research Reveals Need For Better Twin Cities Foreclosure Data , The Federal Reserve Bank of Minneapolis
(September 2006). http://www.minneapolisfed.org/publications_papers/pub_display.cfm?id=2200

79
  R.K. Arnold, Yes, There Is Life On MERS, 11 Prob. & Prop. (July/August 1997), pgs. 32-34. See also Christopher
L. Peterson, Foreclosure, Subprime Mortgage Lending and the Mortgage Electronic Registration System, University
of Cincinnati Law Review (Summer 2010) Volume 78, No. 4 for a comprehensive explanation of the MERS
process.
80
  Christopher L. Peterson, Foreclosure, Subprime Mortgage Lending and the Mortgage Electronic Registration
System, University of Cincinnati Law Review (Summer 2010) Volume 78, No. 4, pg. 1361.
81
     Id. at 1362.

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being publically recorded or traceable in the grantor/grantee indexes.82 Sometimes, these
transfers are documented in the MERS system (rather than the county property recorder’s office) 
and sometimes they are never documented at all.83 MERS then initiates foreclosure actions on
behalf of lenders.84 As stated above, courts have held that MERS lacks standing to foreclose on
a particular property and, many times, the actual owner of the property cannot even be
determined because of falsified (robo-signed), back-dated or lost/non-existent records.

         This phenomenon also means that the property’s chain of title is lost in public records or
severely diluted (because it cannot be traced amongst the hundreds of thousands of MERS
transactions). If the chain of title is lost for a foreclosed property, any property that shares a
common property boundary line with that foreclosed property may have also lost its senior rights
in a boundary dispute. Additionally, because of clouded titles, both foreclosed properties and
their neighbors may not be able to sell their properties because buyers will not be able to obtain
title insurance (or provide the same warranty deed issued by a lender) and consequently, buyers
will not be able to obtain financing.

        Currently, it is estimated that MERS holds over half of all mortgages in the United States
– approximately 60 million mortgages 85 and, in the event the chain of title is lost, MERS has a
negative effect on the mortgaged homes, and each adjoining property adjacent to those homes
(even those homes with no mortgage).

A.         Diagram B

           As an example of these principles, see Diagram B on the next three pages.




82
   See Marian Wang, Backgrounder:  A  Closer  Look  at  MERS,  the  Industry’s  Controversial  Mortgage 
Clearinghouse, ProPublica (March 7, 2011).
83
     Id.
84
  Robbie Whelan, Lawmaker Questions Power To Foreclose , The Wall Street Journal, Real Estate Section
(November 1, 2010). http://online.wsj.com/article/SB10001424052748704865104575588791583567372.html
85
  Michael Powell and Gretchen Morgenson, MERS? It May Have Swallowed Your Loan, The New York Times
(March 6, 2011 Late Edition).

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                                               Diagram B               
                                                             MERS CONVEYANCE 

                                                                               
                                                                      Original Grantor 
                                                                                                                  Original grantor A believes he 
           A conveys East 50 ft to B in 1960.                                A                                    owns 100 ft but he really owns 
         Conveyance is recorded and traceable                                                                                 95 ft. 
             1.in grantor/grantee index. 
                     

          

                                                                 A                          B 

                                                             Remainder              East 50 ft 
                                                               (1960)                (1960) 
                                                                                                                            A  conveys  East  25  ft  of  his 
                                                                                                                            remaining  parcel  to  C  in  1965. 
                                                                                                                            Conveyance  is  recorded  and 
                                                                                                                            traceable in grantor/grantee index. 

          
                                                      A                       C                        B 
          
                                                 Remainder               East 25 ft               East 50 ft  
  A conveys his remaining 20 ft                    (1965)                 (1965) 
                                                                                                   (1960) 
 to D in 1970.  It is conveyed as 
25 ft because A thinks he has 25 
           
ft left to convey. Conveyance is 
     recorded as 25 ft and is 
  traceable in grantor/grantee 
            index.   

          

                                                      D                       C                        B 

                                                   Remainder             East 25 ft               East 50 ft       
          
                                                    (1970)                (1965)                   (1960) 

                                                                                          
                                                                          
                                                                          
                                                                                                                            At this point, if a survey reveals that 
                                                                                                                            the original parcel A contained 95 ft, 
 D conveys what he thinks is                                                                                                normal  rules  determine  junior  and 
25 ft to E  in 2008 ( it is really                                                                                          senior  rights  without  the  need  for 
    20 ft). Conveyance is                               E            C                  B                                   litigation.  Tracing  back  to  grantor  A, 
recorded and is traceable in                                                                                                B will get 50 ft (1960), C will get 25 ft 
   grantor/grantee index. 
                                                    Remainder             
                                                                 East 25 ft         East 50 ft                              (1965), E will get the remaining 20 ft 
                                                                                                                            (D acquired 20 ft in 1970 from A). 
                                                     (2008)       (1965)             (1960) 
 
                                                                          
                                                                          
                                                                          
                                                                          
                                                           NOW THE PROBLEM STARTS 
                                                                          


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                                                    NOW THE PROBLEM STARTS 

                                                             MERS CONVEYANCE 
       
                                                              E                           C                         B                 
                                                           (2008)                     East 25 ft                East 50 ft         
                                                                                       (1965)                    (1960) 
                                                                     
                                                                                                                        
       
E loses his property in                MERS                                                                                              In this series of conveyances, the 
  a 2009 foreclosure 
                                       2009                                    MERS holds the mortgage as nominee.                           mortgage and the note are 
 done in the name of                                                                                                                      separated.  Due to the fact that 
         MERS.                                                                                                                              these conveyances were not 
                                                                           
                                                                                                                                          recorded and are not traceable 
                                                                                                                                          in the grantor/grantee index (in 
                                    Bank One                                                                                                    combination with lost 
                                                                                  MERS conveys note to Bank One. 
                                                                                                                                             paperwork, back‐dated and 
                                   Note Holder                                  Conveyance is not recorded and is not 
                                                                                                                                              forged documents‐ robo‐
                                                                               traceable in the grantor/grantee index. 
                                                                                                                                          signatures), these conveyances 
                                                                                                                                          starting with E’s foreclosure by 
                                                                                                                                          MERS in 2009 cannot be traced 
                                    Bank Two                 
                                      2009                                       Bank One coveys note to Bank Two. 
                                                                                                                                          back up to E (or earlier) without 
                                                                                                                                               looking at hundreds of 
                                   Note Holder                                  Conveyance is not recorded and is not 
                                                                                                                                         thousands of MERS transactions.  
                                                                               traceable in the grantor/grantee index. 
                                                                                                                                            Because of post‐dating, this 
                                                                                                                                           search cannot be confined to a 
                                                                                                                                           given year.  There is no way to 
                                                                                                                                           trace the property back to the 
                                 Bank Three Note                               Bank Two conveys note to Bank Three. 
                                                                                                                                          original grantor A.  The chain of 
                                                                                Conveyance is not recorded and is not 
                                     Holder                                                                                               title is broken/ severely diluted 
                                                                               traceable in the grantor/grantee index. 
                                                                                                                                             and a wild deed is created. 
                                       2009 
     Bank Three conveys                                                                                                                   
     the property to F in 
        2010                                                F                              C                        B             
                                                         (2010)                         (1980)                    (1960)       
       
                                                                                                                        
       



      Bank Three (note holder) conveys the foreclosed property to F in 2010. There are several
      problems with this conveyance:

       F irst Set of Problems:

      1.          Bank Three cannot prove it actually owns title to the property because the note and the
                  mortgage were separated in 2009 (MERS held the mortgage and the note was assigned to
                  Bank One, Bank Two and Bank Three in a series of transactions and none of the
                  transactions were recorded) – this is a wild deed.

                  a.         Because Bank Three cannot prove they own title to the property to convey to F, F
                             cannot obtain title insurance on the property unless Bank Three agrees to
                             indemnify F (or provide a warranty deed) against any title claims or losses as part
                             of F’s title insurance policy.
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      b.     Similarly, F cannot prove that he owns title to the property (clouded title/wild
             deed), therefore, F will have a problem selling the property because:

             (1)    Realistically, F will not be able to indemnify a prospective buyer against
                    any title claims or losses (as Bank Three had done for F);

             (2)    A prospective buyer will not be able to obtain title insurance because the
                    property’s title is clouded and the property has a wild deed. Without title
                    insurance or a redeemable warranty deed, a prospective buyer cannot
                    obtain financing (leaving only cash buyers);


             (3)    A clouded title/wild deed will diminish the market value of the property
                          when F tries to sell the property even if he can find a cash buyer.


Second Set of Problems

2.    When F purchased the property in 2010, Bank Three believes that it was conveying 25 ft.
      to F. F also believed that he was purchasing 25 ft. F has a survey done in 2010 to
      determine boundaries. In conducting the survey, the surveyor finds:

      a.     The original grantor A (traced back from B and C properties) only had a total of
             95 ft. to convey due to prior survey discrepancy.

      b.     The surveyor must determine the senior rights between F, C and B in order to
             determine who gets what portion of the 95 ft. (senior and junior rights), however,
             this cannot be determined because:


             (1)    F thinks he owns 25 ft., C thinks he owns 25 ft. and B thinks he owns 50
                    ft.

             (2)    The surveyor cannot trace F’s  property  back  to  E  due  to  the MERS
                    transactions, so you cannot determine whose conveyance came first in
                    time (thus senior by race/notice statutes) F, B or C?

             (3)    Therefore, the surveyor cannot determine who has senior and who has
                    junior rights between F, B and C.

      c.     Therefore, all three properties (F, B and C) now have unclear boundary lines
             creating a cloud on all three properties’ titles.

             (1)    F, B and C will have to disclose the boundary discrepancy when they
                    attempt to sell their properties;

             (2)    The boundary discrepancy will create a cloud on title for all three
                    properties diminishing the properties’ values;
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         (3)    The cloud on title will make it impossible for prospective buyers to obtain
                title insurance (and financing) on any of the three properties.




    d.   Because of the broken/diluted chain of title and the boundary discrepancy, F, B
         and C will have to go to court to have their boundary lines adjudicated (even if
         they agree to a compromise) because a surveyor cannot make this determination
         absent a court order. This process is expensive and time consuming, holding up
         land sales, disposition of estates and family trust and negatively affecting the
         American economy.

    e.   The title industry can anticipate a litany of marketable title claims as the current
         owners must disclose their title issues to any prospective buyers – thus
         diminishing the property’s value. See E xhibit D. See also Mertens v. Berendsen
         (1931) 213 Cal. 111, 113 (stating that “Marketable title must be so far free from 
         defects as to enable the holder, not only to retain the land, but possess it in peace,
         and if he wishes to sell it, to be reasonably sure that no flaw or doubt will arise to
         disturb its market value”).
                  
     
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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B.         A  Purchaser’s  Inability  To  Obtain  Title  Insurance  On  A  Foreclosed  Property 
           Processed T hrough M E RS

         Title insurance involves the issuance of an insurance policy promising that, if the state of
the title is other than as represented on the face of the policy, and if the insured suffers loss as a
result of the difference, the insurer will reimburse the insured for that loss and any related legal
expenses, up to the face amount of the policy.86 See E xhibit C, sample language from title
insurance policy. When a title insurance policy represents that a title search was made, it
impliedly represents that the defects, impediments and other matters mentioned in the policy and
excluded from coverage are the only ones disclosed by a search of public records (or disclosed
on a new proper survey commissioned at the time the policy is issued) to the average person who
has paid for a title search made in connection with a policy of title insurance, the policy itself
serves as the abstract of title.87

        MERS has broken or severely diluted the chain of title for foreclosed properties (See
Diagram B above) and their neighbors (with sequential conveyances and a boundary
discrepancy) and all will have clouded titles. With clouded titles, subsequent purchasers will not
be able to obtain title insurance, and in turn, they will also not be able to obtain financing.
Because of these clouded titles, both foreclosed properties and their neighbors may not be able to
sell their properties because buyers will not be able to obtain title insurance and financing. Just
as in Diagram B above:

1.         A bank cannot prove that it actually owns the foreclosed property because the note and
           the mortgage are separated creating a wild deed

2.         As a result, a subsequent buyer (buyer 1) may not be able to obtain title insurance unless
           the bank agrees to indemnify buyer 1 against any title claims or losses as part of buyer
           1’s title insurance policy.

3.         Even if the bank and the title insurer work together to provide title insurance to buyer 1
           for the foreclosed property, when buyer 1 goes to re-sell the property buyer 2, buyer 1
           will have a clouded title and wild deed and buyer 2 will not be able to obtain title
           insurance and financing without indemnity from buyer 1 (which in all likelihood buyer 1
           cannot provide).

4.         This problem will diminish the value of the property to buyer 1 (and their neighbors with
           sequential conveyances and boundary disputes) and they will either not be able to sell it,
           only sell it to a cash buyer willing to have no title insurance and/or sell it at a reduced
           price because of the clouded title problem.

86
  Lick Mill Creek Apartments v. Chicago Title Insur. Co. (1991) 231 Cal. App. 3d 1654, 1658. See also Cal. Ins.
Code § 12340.1.
87
     Banville v. Schmidt (1974) 37 Cal. App. 3d 92, 100-108 [emphasis added].
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       In October 2010, because of the problems with MERS (as described above), in order for
an individual buyer to obtain title insurance on a foreclosed home purchased from a bank, the
bank must provide a written indemnity to the title insurer and buyer stating that the bank actually
owns the property and will defend against any subsequent claims on title.88 If banks are
unwilling to provide this indemnity, title insurers were refusing to insure properties. At one
point in October 2010, Old Republic was reportedly refusing to write title policies for some
foreclosures all together (although this policy was subsequently changed).89

       A sample from an actual grant deed for a foreclosed property containing this indemnity
language reads as follows:

                   “Grantor covenants that it is seized and possessed of the said land
                   and has a right to convey it, and warrants the title against unlawful
                   claims of all persons claiming, by, through and under it, but not
                   further otherwise.”

See E xhibit K .

        When this homeowner attempted to have his title insurer help him issue a new deed, he
received no cooperation from the title company representative, and in fact, he was treated rudely.
Although he is currently persisting to have his deed reformed, thus far, he has run into a brick
wall of bad advice and unreturned telephone calls from his insurer.

       The GAO 07-401 reported on the nefarious loss and loss adjustment claims of title
insurance premiums.90 The concept of title insurance is largely not understood by the average
homeowner. Title insurers pay few claims (usually high dollars) with only 5% of the premiums
paid as losses (2005). This extremely low claims acceptance rate is exemplified by the
homeowner attempting to have his deed reformed.

        Subsequently, the title insurance companies relaxed the indemnification requirement.91
Why? The only thing holding the title companies together is a piece of duct tape and a stick of
gum. If one of the four major title companies were to break formation and require indemnity or
refuse to insure foreclosures altogether, this would be the demise of the title industry. Currently,
title companies are being hit with large claims due to the loss of priority of liens and loans
(another form of junior and senior rights).

88
  Danielle Kucera, F idelity National To Require Banks To S ign Foreclosure Warranty , Bloomberg (October 20,
2010).
89
  Stephanie Armour, Old Republic To Stop Writing Policies For Some Foreclosures , USA Today.com (October 2,
2010).
90
     United States Government Accountability Office, GAO-07-401 (April 2007) Talking Points Outline , pg. 42.
91
  Danielle Kucera, F idelity National Drops Plan For Lender Foreclosure Guarantee , Bloomberg (October 27,
2010).
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C.         T he Tor rens System – A n A lternative

        The only known alternative to the chain of title system is the Torrens system which
registers the owner, not the land. Minnesota and Massachusetts (via the Massachusetts Land
Court system) have established Torrens systems. To institute a Torrens system, you must have a
court finding that eliminates the necessity for a chain of title and a declaration of the property
location.92 Under  the  Torrens  system,  the  owner’s  certificate  of  title  defeats  any  competing 
claims not declared at the initial proceedings.93 Furthermore, a Torrens system would require a
survey and court costs for each individual property.94

       Conceivably, if done properly, a Torrens system would take hundreds of years to create –
not exactly a feasible solution. Additionally, once established, each state must guarantee rights
of ownership and establish a fund to pay the costs for errors in court determined ownership.
Although a Torrens system would, in essence, eliminate the need for title insurance, it would be
too expensive and take too long to implement. As it stands, there is simply no alternative to
maintaining our chain of title system – a system that MERS has frustrated.


D.         T he Proposed National System – A Bad Idea

        Recently, there have been calls to create a national system/standard for originating,
selling and servicing mortgage loans.95 The MERS system is an example of a flawed national
system that did not take into account the fact that each state determines its own real property
laws and recording system. A nationalized system simply will not work.

        Kurt Pfotenhauer, chief executive of the American Land Title Association, said MERS is
an "elegant solution" to the inefficiencies of paperwork.96 Although he would welcome more
regulatory oversight, Pfotenhauer said title companies have found the database to be accurate and
that its main flaw is that it doesn't contain every mortgage in America. This is a remarkable
statement from a title insurance industry representative. The idea may be to apply the golden
rule. He with all of the gold rules. If MERS controlled all mortgages, maybe MERS would be

92
  Brown, Curtis M., Walter G. Robillard, Donald A. Wilson, Brown’s Boundary Control and Legal Principles (5th
ed. 2003) § 3.7, pg. 46.
93
     Id.
94
     Id.
95
   Christopher Whalen, The Ibanez Decision: What It Means For Homeowners and Investors , Reuters Edition US
(January 10, 2011) (referencing An Open Letter To U.S. Regulators Regarding National Loan Servicing Standards
(December 21, 2010). http://blogs.reuters.com/christopher-whalen/2011/01/10/the-ibanez-decision-what-it-means-
for-home-owners-and-investors
96
 Ariana Eunjung Cha and Steven Mufson, How The Mortgage Clearinghouse MERS Beca me A Villain In the
Foreclosure Mess, The Washington Post (December 30, 2010).
http://www.washingtonpost.com/wp-dyn/content/article/2010/12/30/AR2010123003056.html

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deemed too big to fail (like AIG). However, land title is not about securities. It just so happened
that mortgage backed securities were formed as a market gamble. Investors may have gambled
and lost, however, MERS cannot be allowed to ruin land title as a result of this securitization.

       Land ownership is local. Each state has its own laws governing the real property and the
laws applicable to one state cannot work in another state. For example:

           Minnesota (Torrens system of title);

            California (subdivided by a public lands survey system with private holding
            “Ranchos” that predate statehood);

           Georgia and Texas (enacted their own laws irrespective of common law);

           Iowa (state run land title insurance program);

           Colonial New England states (comprising 20 plus states that are metes and bounds
            states).

        These  are  simply  states’  rights  issues.    In  most  instances,  there  are  no  federal  laws 
describing real property rights. Our land title system simply cannot be altered based on the
secondary market created by Wall Street firms and banks that are only focused on buying and
selling mortgages rather than how the MERS system has already started to destroy our land title
records.

                                                    VI

                                           C O N C L USI O N
         We cannot let Wall Street destroy 400 years of title by implementing and exploiting the
MERS system to perpetuate alleged fraud in the mortgage lending industry. As seen in this
article, the robo-signer scandal is merely a symptom of all of the problems created by MERS.

         MERS, a shell company with 45 employees and 20,000 Vice Presidents (paying $25.00
each for the right to use the MERS name), may destroy our land title records affecting all
American homeowners (not just those unfortunate enough to face foreclosure) if appropriate
actions are not taken.97 The elephant in the room not being acknowledged by the mortgage
lenders (who once profiting from the buying and selling of bad mortgages and are now facing
liabilities) as the ramifications of destroying 400 years of title records. Chain of title destruction
boils down to the destruction of a basic American right – land ownership with a verifiable clear
title. If states are forced to accept a new system, Americans will lose the legal theories that

97
   Ariana Eunjung Cha and Steven Mufson, How The Mortgage Clearinghouse MERS Beca me A Villain In the
Foreclosure Mess, The Washington Post (December 30, 2010).
http://www.washingtonpost.com/wp-dyn/content/article/2010/12/30/AR2010123003056.html

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establish and protect real property rights including marketable title,98 prescriptive rights,
acquiescence, equitable estoppels, adverse possession and others. Think about the following:

                  If these conclusions are incorrect, why did the title insurance industry threaten to
                   refuse to insure foreclosures in October 2010? 99
                  And what is the indemnity relationship between lenders and title insurers today?
                  Do we really want to force Americans to litigate their property rights that were
                   documented and maintained for nearly 400 years until the introduction of MERS?



E ND O F R EPO R T.




98
   See E xhibit D for definition of “marketable title.”  Typically, title insurance insures title to be marketable.  Items 
that can make title unmarketable are shown on the exhibit referenced.
99
     David Streitfeld, Company Stops Insuring Title In Chase Foreclosures, New York Times (October 2, 2010).
                                                                            Harbinger Analytics Group v2 05/12/11

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                                            Addendum One

                           MERS/ZOMBIE LOANS QUESTIONS
                                   ANSWERED

Forward:

       The following addendum is in reference to a conversation with (name intentionally
deleted). Following up on the questions presented in our conversation of January 20, 2011, I
assume that (name intentionally deleted) is familiar with the report initially submitted.

Fact Sheet:

        To foreclose on real property, a plaintiff must be able to establish the chain of title
entitling him to relief. Nevertheless, MERS has acknowledged, and recent cases have held, that
MERS is a mere “nominee”— an entity appointed by the true owner simply for the purpose of
holding properties in order to facilitate transactions. Recent court opinions stress that this defect
is not just a procedural defect, but is a substantive failure, one that is fatal to the plaintiff’s legal
ability to foreclose.1 Furthermore, if the lender has taken out title insurance for themselves to
guarantee the viability of the title to these properties through the securitization process, then the
title companies are already on the hook for claims on the first wave of unrecorded conveyances.

                  “It’s like a Microsoft Excel spreadsheet, only bigger. It doesn’t have
                 images of documents; it doesn’t have signatures in it. It doesn’t have
                 copies of original documents,” explained Christopher Peterson, a law
                 professor at the University of Utah who has written several research
                 papers on MERS. “Members of the MERS system can put info on
                 database if it feels like it,” Peterson said. “MERS uses the word ‘track,’
                 they say they track servicing rights or ownership rights, but that’s not
                 really what they do. They’re more of a passive information receptacle.” 2

        Sometimes MERS also tracks ownership rights (actual assignments), but only if investors
willingly volunteer this information.3 [emphasis added]. Most states (except Minnesota and
Massachusetts) have a land title act which conforms to the statute of frauds – requiring that
transactional documents be in writing, signed by the party to be charged, and filed with the

1
  As examples see U.S. Bank National Ass’n v. Ibanez (January 7, 2011) 458 Mass. 637, 2011 Mass. LEXIS 5; In re
Agard (United States Bankruptcy Court, Eastern District of New York, February 10, 2011) Case No. 8-10-77338,
Doc. 41.
http://findsenlaw.files.wordpress.com/2011/02/ny-bk-in-re-agard-feb-2011.pdf
2
  Debra J. Hood, Home Foreclosures Halted Indefinitely As Title Insurance Company Jumps Ship (October 7, 2010)
Long Beach Examiner.
http://www.examiner.com/nonpartisan-in-long-beach/home-foreclosures-halted-indefinately-as-title-insurance-
company-jumps-ship
3
  Financial institutions have not reliably updated the MERS maintained database when they assign loans to
businesses that are not members of the MERS system. See In re Hawkins 2009 WL 901766 (Bankr. D. Nev.2009)
                                                                                                Page 1 of 13
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county recorder’s office making them available to the public. Because not all of these
transactional documents (i.e. the assignment of the promissory note, mortgages and deeds of
trust) are part of the MERS system, they are no longer available to members of the public. This is
very bad both because MERS violates that statute of frauds and because the public is no longer
able to trace ownership and divisions of property through the “chain of title”.

        These transactional documents historically cannot be separated without being subject to
nullity. Ironically, trustees of residential mortgage backed securitized trusts also claim to own
legal title to the same mortgages for which MERS claims to own title.4 Society (the general
public) needs an authoritative, transparent source of information on who owns land in order to
protect property rights, encourage commerce, expose fraud, and avoid disputes.5 Unlike most
county real property recorders, MERS does not keep digital or hard copies of documents that
embody real property agreements (negotiation of promissory notes and written assignment of the
mortgages) making it much more difficult to track fraud and errors through the MERS record
keeping system. When asked whether MERS expects financial institutions to update the MERS
database regarding changes in loan ownership, the company’s CEO replied, “not so much…” 6

        This is exactly how the chain of title is broken. Once chain of title is broken, senior and
junior property rights established by order of conveyance (sequential conveyances - See Exhibit
H) are lost. This means that the land surveyor, hired to delineate property lines, will not be able
to properly document contiguity, gores and overlaps along the exterior boundaries of the
surveyed premises. Now the land boundaries are clouded, and the owner will need to have the
particular property line determined (adjudicated) by the court system. Having to rely on courts
to quiet title will be a very slow and costly process that will surely hinder the conveyance and
future development of property.

        Furthermore, this type of title issue has such a direct effect on the marketability of title
and insurability of title, it is specifically spelled out in the American Land Title Associations
guidelines “2005 Minimum Standard Detail Requirements for ALTA/ACSM Land Title Surveys”.
Most commercial property lenders will not provide a loan on property without the benefit of a
land title survey. The parties, lenders and title insurers, understand that a claim involving
contiguity, gores and overlaps (along the exterior boundaries or the encroachment of
improvements) may render the property unmarketable and/or lead to costly litigation. A title
company has a duty to defend the property owner and therefore, they are unlikely to voluntarily
provide coverage for these problems when they are discovered through a land survey.

        By contrast, in the residential market, most California lenders do not require property
surveys. In other states there is a “mortgage survey” market. On residential title insurance
policies, the title companies write an exception to coverage for any matters that would have been
disclosed by a proper land survey. Nevertheless, with all properties (commercial and
residential), title insurance coverage will endorse that a property has a clear chain of title and the
title company (at least in theory) will defend against any other claims of ownership. This is the
4
   Christopher L. Peterson, Written Testimony of, Hearing on: “Foreclosed Justice: Causes and Effects of the
Foreclosure Crisis”, United States House of Representatives, Committee on the Judiciary (December 2, 2010)
5
  Id.
6
  Id.
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reason the title insurers were/are refusing to underwrite policies on foreclosures – MERS does
not provide the necessary information for a chain of title.

Question 1:

               If the boundaries between any two properties cannot be definitively
               located, how is that going to affect the value of the property or the
               development of the property?

Answer 1:

       A lender will not grant a loan on property that cannot be insured by a title
company. The current argument is the delays in foreclosure will hurt the economic
recovery; however, the adverse effects of destroying land title will far exceed a
comparatively short delay in foreclosures and may required litigation to clear future title.

Question 2:

               How prevalent is the problem?            How many properties will be
               affected?

Answer 2:

               2 out of 5 (38%) of the loans in the sample set of 15,710 loans.

    Using Dataquick (http://www.dataquick.com/), the author requested sales transaction data for
commercial properties sold between January 1st, 2005 and April 10th, 2009 setting a minimum
sales price of $3M plus and sampling several California counties (Orange, Los Angeles,
Riverside, San Bernardino, San Diego and Sacramento).

   The 2006 results are as follows:

   o Total of 15,710 loans (in 2006) were examined.

   o Percentage of sequential conveyances - 38% (approximately 5,970 loans).

   o The minimum and maximum number of sequential conveyances in the counties sampled
     were a minimum of 30% in San Diego County and a maximum of 55% in Sacramento
     County (with Orange County, Los Angeles County, Riverside County and San
     Bernardino County falling within this 30% to 55% range).

   o In 1972, California (arguably very progressive in subdivision law) recognized sequential
     conveyances were a constant source of real property litigation. California subsequently
     outlawed the use of legal descriptions to subdivide property after 1972. In California,
     real property is required to be surveyed and mapped (platted) with few exceptions. Even

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       so, 38% of the 2006 conveyances remain remnants of the pre-1972 litigation prone
       subdivision system.

    o The estimated number of properties (adjoining the affected 38%) exceeds 18,000
      properties. Assume 3 adjoining properties, one on each side and one in the back. Now
      consider the number of foreclosures (projected at 13 million by 2012 7) and consider the
      true number of adjoining properties (a very large number).

       The chain of title is needed to determine the junior and senior rights of any property. The
owner that wants to delineate a property line (possibly to build improvements) will require a land
survey to examine the conveyance documents as well as the adjoining property owners
conveyance documents. In the event of a conflict in title elements, an unbroken chain of title
resolves most problems without the need for complex litigation (quiet title action).

Question 3:

               Is there a public policy issue that could protect the public?

Answer 3:

         Yes. MERS, service providers and lenders should not be allowed to circumvent the land
title system by legalizing the MERS database (H.R. 3808) as a quasi recording system.

        The law (by extension the courts) should not allow attorneys to file affidavits for lost
ownership or land title documents without proof of established bona fide rights. Most people
have little understanding of the land title system. Most people cannot be expected to understand
land title rights and negotiate coverage with a sophisticated insurance provider that historically
pays 5% in loss and loss adjustment claims. 8

       A recent conveyance of a foreclosed property, insured by Old Republic Title Company,
had the following covenant attached to the grant deed which hints at the relationship between the
note holder (presumably) and the title insurer:

               “Grantor covenants that it is seized and possessed of the land and has a
               right to convey it, and warrants the title against lawful claims of all
               persons claiming, by, through and under it, but not further otherwise.”

         What exactly does the title insurer cover, if not title? The average consumer must work
through the same chaotic system the American public has been told to rely on for mortgage
modifications. Of course, working through this system comes at considerable time and expense
if a claim arises.



7
  L. Randall Wray, Requiem for MERS (and Banks That Created the Frankenstein Monster),Huffington Post
(January 24, 2011)
8
  United States Government Accountability Office, GAO-07-401 (April 2007) pg. 9.
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        Ron Lieber of The New York Times accurately summed it up:

                 “Title insurance companies would like you believe that they are the good
                 guys standing behind you. After all, you are the customer who owns the
                 policy.

                 In fact, many of the title insurance companies are more concerned about
                 their real estate agents, lawyers and lenders who can steer business their
                 way. The title insurance companies are well aware that most people do
                 not shop around for title insurance, even though it’s possible to do
                 so…While the title insurers are not supposed to kick back money directly
                 to companies or brokers that send business their way, various government
                 investigators [including the GAO] over the years have turned up all sorts
                 of cozy dealings that make you shake your head in disgust.

                 But since you have to buy the insurance if you need a mortgage, there is
                 not much you can do except hold your nose.”9

       Iowa Attorney General Tom Miller is leading a 50-state AG investigation into major
lenders…for signing foreclosure affidavits without reviewing documentation or having previous
knowledge of a specific case (ROBO-Signer Scandal). Miller believes a strong settlement would
require banks to complete substantially more loan modifications, offer borrowers a principal
reduction before allowing a foreclosure proceeding and include remedial action for foreclosed
homeowners who have already lost their residence.10

Question 4:

                 What relief is planned for the neighboring property that doesn’t have
                 a mortgage loan but has still lost his senior rights established in a
                 statutory race/notice sequence system upon the utilization of MERS.
                 What happens to this property owner who has lost the chain of title
                 for the adjoining property? How would that situation be addressed
                 by a settlement?

Answer 4:

       Consider the fact that there are many property owners (adjoining foreclosed properties)
losing their senior property rights without representation. Conservatively, there are three

9
  Ron Lieber, After Foreclosure, A Focus on Title Insurance, The New York Times (October 8, 2010).
http://www.nytimes.com/2010/10/09/your-money/mortgages/09money.html?_r=2&pagewanted=print
10
   Christine Ricciardi, Iowa AG Miller to meet with consumer groups on robo-signing settlement, Housingwire.com
(January 25, 2011)
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properties losing their rights and chain of title for each title lost in a sequential conveyance done
through the MERS system (one property on each side and one behind the conveyed property).
The banks are not set up to handle these types of questions or claims. Real property title is
complex by nature and the consumers will be litigating their boundaries for years into the future.
A settlement brokered by the Attorney’s General would not have considered the title
ramifications, especially those adjoining property owners. Those people that rushed in to invest
in foreclosures may now have standing to put the loans back on the lenders, much the same way
as the GSEs.


Question 5:

               How much liability is the title insurance industry looking at?

Answer 5:

       It depends – on whether we are talking about the residential or commercial
market:

       A.      The Residential Market:

       For the answer regarding the residential market, please see the previous question and
answer. In addition, in the future event the insurers refuse to underwrite foreclosures, title
insurance industry exposure will be minimal in the residential market.

       In the residential market, the question will be: Are the lenders willing to make loans
without title insurance? It is unlikely. Historically, the title insurance industry writes exceptions
to coverage for perceived risks. This practice means the homeowner must challenge a well
financed title insurance company with a claims payment history of 5% or challenge their lender
(think modified loans track record) to resolve their title claims. The concept of a modified loan
is much easier to understand, by all parties, than complex land title issues. Imagine the
nightmare of having to work through a lender seeking to answer land title questions, especially in
the event the lender did not carry the mortgage, rather the neighbor’s mortgage.

       The media has mentioned that slowing foreclosures could hurt the U.S. economic
recovery. However, there is no mention in these discussions about the loss in market value for a
home/property that has a clouded title. To remove the cloud on title would require a quiet title
court action adjudicating title to the property. This unappealing result will cause less interest
from buyers and, consequently, a lower market value. Why would anyone buy a property with a
material defect if the property across the street has clear title? Without clear title there is a
question as to whether or the purchaser will be able to re-sell the property at a later date.

       B.      The Commercial Market:

       In the commercial market the answer is A LOT. The lender’s attorneys negotiate
insurance coverage and specific endorsements (extended coverage policies). Most lenders
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require a land title survey. If this survey identifies potential adverse claims on title, the lender’s
counsel will request specific endorsements and/or special riders to the title insurance policy. For
reasons beyond the scope of this paper, neither the title insurance industry or the lender’s counsel
are likely to have the professional background to identify alleged land surveying fraud. It is
equally unlikely that either party would suspect that a licensed surveyor might not automatically
examine the relationship of the property to its adjoining properties or that this same surveyor
might be violating the California Business and Professions Codes regulating the practice of
surveying. As evidenced by John C. Murray, Vice President and Special Counsel for First
American Title Insurance Company:

                “If a survey is in fact submitted to the title insurer, it generally will take
                specific exception to the items shown on the survey. If the title insurer
                takes specific exceptions for items shown on the survey, but misses a
                matter that should have been excepted and does not show it as a specific
                exception (such as an encroachment), the title insurer could incur liability
                under the “unmarketability of title” coverage provision if the buyer
                repudiates the contract because it has discovered the defect and refuses to
                close the transaction. An unmarketability claim also may arise where
                there are survey that show different descriptions of property to be insured.

                If the surveyor made an error on the survey, e.g. by failing to disclose an
                existing encroachment or easement, and the title company becomes
                obligated to pay a claim to the insured party because of such an error (as
                happened in the Dahlman case, supra), the title company would have a
                claim back against the surveyor . . . ´ 11

       In 2007, I brought this problem to the attention of a one of the biggest title insurance
companies. I was told that I was not the “sheriff” and that their underwriters have the situation
handled. The fact I was concerned about this title company’s interests and the interests of the
American public was lost on their general counsel.



Question 6:

                Historically, the title insurance industry has paid 5% in claims (loss
                and loss adjustment), recently they have seen an uptick in claims.
                Why?

Answer 6:

       According to a Senior National Commercial Underwriter, the uptick in claims is
“basically it’s due to Mechanics Liens claims/coverage from insuring “broken priority” for

11
  John C. Murray, Is An Encroachment Onto Adjoining Property An Encumbrance For Title Insurance Purposes?
(2006)
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lenders over the last 3+ years or so…”. When asked if the claims rates have stabilized “Over the
past few years, yes, but at a much higher rate than 5%”. (citation removed). A broken priority is
a loss of order between lenders and the secondary mechanics lien process. For example, the first
note holder loses priority to a second note holder or a mechanics lien.


Question 7:

              The news has been focused on the residential foreclosures, the
              residential mortgage backed securities and the effects of MERS
              thereof. Do the same problems exist in the commercial mortgage
              backed securities?

Answer 7:

       According to Jon Prior of Housingwire.com:

               “Of the $22.5 billion in commercial mortgage-backed securities loans set
              to mature in 2011, roughly 30% do not pass the Fitch Ratings refinance
              test, the credit rating agency said Friday [01-21-2011].”

        The owners’ inability to refinance commercial properties will result in defaults and
ultimately foreclosures. In turn, this will result in the scrutiny of the particular property’s
documentation. The impact of MERS on the CMBS market has not been widely reported.
According to data from New York based research and analytics firm Trepp LLC, the percentage
of loans held in U.S. commercial mortgage-backed securities that were 30 or more days
delinquent, in foreclosure, or REO increased by 35 basis points in November, 2010 to 8.93%,
putting the value of delinquent loans at $60.3 billion. Presumably, many more are on the way.

Question 8:

              Referring to the chain of title issues, does this affect the securitization
              or secondary market?

Answer 8:

        Yes. There may be a collateral debt obligation without any collateral. In a worse case
scenario, the note has been separated from the title (mortgage or trust deed) via MERS, the note
holder is owed the balance established, but unless the title is held by the same entity there may
not be a valid claim to the property (collateral). Nemo dat quod non habet, literally meaning "no
one [can] give what he does not have.” This legal rule, sometimes called the nemo dat rule,
states that the purchase of a possession from someone who has no ownership right to the




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possession, also denies the purchaser any ownership title. Recent court cases have upheld this
theory.12

         Technically, the banks that have successfully foreclosed on property may have, in turn,
resold the property, while not being able to prove that they ever had ownership of the property.
This clouds the property’s title and also breaks the property’s chain of title. This broken chain
of title has obscured or lost the property rights that were established by historical race/notice
statutes and thereby the court to determine property rights.

Question 9:

                 What is the (best) counter argument presented?

Answer 9:

        The White Paper, Transfer and Assignment of Residential Mortgage Loans in the
Secondary Mortgage Market (November 16, 2010), prepared by the Tom Deutsch of the
American Securitization Forum, presents a counter argument. The thrust of this White Paper
references the Uniform Commercial Code’s premise that “the mortgage [title] follows the note
[loan].”13 Deutsch argues that the fact the note was physically (or digitally) separated from the
mortgage does not remove the standing of the note holder to foreclose. Deutsch argues that the
note is proof of title. Nevertheless, since the White Paper referenced was written, there have
been court rulings contrary to Deutsch’s arguments.14 Furthermore, even as Deutsch’s argument
has some value, this argument does not fix the problem of a lost chain of title and all other
problems addressed in this Addendum and the previous White Paper remain valid.

Question 10:

                 Why wasn’t this problem more prevalent in the past?

Answer 10:

        Prior to the practice of securitizing mortgage loans and the advent of MERS, mortgage
loans were whole loans made and held by community lenders. Furthermore, the practices of
securitizing mortgage loans would have had less effect but for the staggering number of
foreclosures (due in part, to lowered lending standards). Ultimately, Congress has accommodated
lenders’ poor choices and bad behavior with well publicized bailouts. The MERS issue and the
12
   See U.S. Bank National Ass’n v. Ibanez (January 7, 2011) 458 Mass. 637, 2011 Mass. LEXIS 5; In re Agard
(United States Bankruptcy Court, Eastern District of New York, February 10, 2011) Case No. 8-10-77338, Doc. 41.
http://findsenlaw.files.wordpress.com/2011/02/ny-bk-in-re-agard-feb-2011.pdf
13
    Tom Deutsch, White Paper – Transfer and Assignment of Residential Mortgage Loans In the Secondary
Mortgage Market (November 16, 2010).
14
   See U.S. Bank National Ass’n v..Ibanez (January 7, 2011) 458 Mass 637, 2011 Mass. LEXIS 5; In re Agard
(United States Bankruptcy Court, Eastern District of New York, February 10, 2011) Case No. 8-10-77338, Doc. 41.
http://findsenlaw.files.wordpress.com/2011/02/ny-bk-in-re-agard-feb-2011.pdf


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destruction of land title will affect even those without a mortgage. Lenders, servicers, ALTA,
MBA and others will mobilize their lobbies to minimize the MERS problem.

        A search of the Online Grantor/Grantee Index on the Orange County, California
Recorder’s website lists 146,644 recorded documents involving MERS between January 1, 2010
and December 31, 2010. From this sampling, it is likely that Los Angeles County’s utilization
would be more than 500,000 documents involving MERS (Los Angeles does not report this data
online). In other California counties, utilization was as follows:15

       •      Alameda County: 46,821
       •      Butte County: 4,424
       •      El Dorado County: Over 500 (Search is limited to 500)
       •      Lake County: Over 150 (Search is limited to 150)
       •      Marin County: Over 160 (Search is limited to 160)
       •      Merced County: 460 (in January 2011to date)
       •      Monterey County: 740 (in January 2011date)
       •      Napa County: 5,865
       •      Orange County: 146,644
       •      Placer County: Over 10,000 (Search is limited to 10,000)
       •      Riverside County: Over 3,000 (Search is limited to 3,000)
       •      San Joaquin County: 34,882
       •      San Diego County: 139,734
       •      San Mateo County: Exceeded Maximum Search Results
       •      Santa Barbara County: 13,074
       •      Shasta County: 3,684
       •      Sonoma County: 13,235
       •      Sutter County: 3,033
       •      Tehama County: 1,476
       •      Tulare County: 7,839
       •      Ventura County: Over 500 (Search is limited to 500)
       •      Yuba County: Over 200 (Search is limited to 200)

        Note, because foreclosures halted during the last two months of 2010 this data is
essentially for 10 months of foreclosures.




15
  Counties not included: Alpine, Amador, Calaveras, Colusa, Contra Costa, Del Norte, Fresno,
Glenn, Humboldt, Imperial, Kern, Inyo, Kings, Lassen, Los Angeles, Madera, Mariposa,
Mendocino, Modoc, Mono, Nevada, Plumas, Sacramento, San Benito, San Bernardino, San
Francisco, San Luis Obispo, Santa Clara, Santa Cruz, Sierra, Siskiyou, Solano, Stanislaus,
Trinity, Tuolumne, Yolo


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Question 11:

                   Is there an example of MERS losing the chain of title for a property
                   and the boundaries of that property being litigated?

Answer 11:

         To date, we are not aware of any such cases, however, it is very early in the process. The
real question is whether or not the chain has been broken. The answer, according to multiple
sources is YES. These are sleeping liabilities. They exist, yet, until the owner is in need of
locating the property lines, they are hidden liabilities that can cost hundreds of thousands of
dollars when discovered and contested in court. Uncontested, these problems will cost tens of
thousands of dollars to remove the cloud on title (See Exhibit A). When discovered, the owner
will probably have to resort to litigation in a quiet title action. Furthermore, as demonstrated by
the title companies’ failure to pay claims and defend, it is equally likely that the owner’s title
insurance company will deny coverage. In the event of litigation, the property will have a lis
pendens filed providing notice to any future purchasers. This notice further devalues the
property in question. Removing the lis pendens is also costly. This is a terrible situation for the
homeowner.

Question 12:

                   Are there foreseeable issues in the commercial property loans and/or
                   the CMBS market that will result in claims similar to those presented
                   by MERS?       See also question 3 above.

Answer 12:

        Yes. There is more similarly to the reps and warranties violations resulting in put backs
to the lenders. There will be an American Land Title Association (“ALTA”) land survey in
many of the commercial property loan documents, The ALTA survey is the basis for the title
insurance policy and is a requirement for most lenders. Lenders need additional assurances on
the title of the property as well the existence and locations improvements on high value
commercial properties. Lenders do not want to incur an owner default because of a title claim,
(such as marketable title claim). 16 “Fraudulent” land title surveys (or land title surveys that do

16
   A property may be deemed unmarketable after the flaws in the ALTA survey are discovered. In fact, no “adverse claimant”
need be present for a previous buyer to raise an unmarketability claim under their title insurance policy. The possibility of a
“cloud” on title is enough to trigger title insurance coverage through their insurer. The insured buyer may incur a title defect
rendering their property unmarketable when they go to sell or mortgage their property. This may be the first time the insured
buyer discovers their property has a title defect – a defect that was never disclosed or discovered when their ALTA survey and
                                                                                                             Page 11 of 13
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not meet California statutory requirements) are common place in California. 17 The relationship
between the land surveyor and the lender is similar to that of the investor and the third party
auditors of a publicly traded company. The lenders and the title insurance company base their
policy negotiations on the land title survey.

As an example:

          The defendants (surveyors and/or title companies) can be expected to claim privity with
          the party they contracted with, however, this may only be applicable in the negligent
          performance of a contract. The parties that were not part of the contract may be charged
          with negligent misrepresentation, because plaintiffs may allege defendants failed to
          exercise reasonable care when acting in the course of their professions, supplied false
          information for the guidance of others in a business transaction, and plaintiffs justifiably
          relied upon that information to their detriment. Minimally, the property’s owner, not
          having been part of the contract, may be required to expend attorney’s fees to quiet title
          to his property. “One who through the tort of another has been required to act in the
          protection of his interest by bringing or defending an action against a third person may be
          entitled to recover reasonable compensation for loss of time, attorney fees and other
          expenditures thereby suffered or incurred in the earlier action”18

       Now imagine these surveys were not completed by individual mom and pop land
surveying shops, but rather there is a title insurance company that is brokering and carrying the



title search were conducted prior to the buyer’s initial purchase of the property. Once discovered, the buyer can file a claim
against their title insurer.

         What constitutes a marketable title has been widely defined by the California courts. “Unmarketability” claims may be
brought by an insured in many contexts, including:

          1.     An unreleased mortgage in the chain of title;
          2.     A missing signature in a document in the chain of title;
          3.     A transfer from a decedent without the proper probate proceedings or a right of survivorship;
          4.     A “wild” deed or mortgage; an apparent violation of restrictions or covenants affecting the property;
          5.     An encroachment, easement, or disputed boundary location;
          6.     A forgery or questionable signature on a document in the chain of title;
          7.     A deed recorded long after the death of the grantor;
          8.     A vesting in reliance on an off-record, defective, or illegible power of attorney;
          9.     A tax or judgment lien against a name matching a grantor’s name;
          10.    Incorrect parcel descriptions;
          11.    A jurisdictional or other defect in a court action or proceeding (including defective notice or service of process)
                 from which title to the insured property is derived;
          12.    Unresolved conflicts between two surveys;
          13.    A conveyance while a bankruptcy stay remains in effect; and
          14.    Ambiguous documents in the chain of title.
          15.    A right of reverter in the chain of title.

Murray, John C., Vice President-Special Counsel, First American Title Insurance Company, Title Insurance Coverage for
“Unmarketability of the Title” (2008).
17
   Use of the word “fraud” is meant in its everyday use. Legal cause of actions encompassing fraud must be proven by specific
elements in a court of law (including a determination of intent).
18
     Pullman Standard, Inc. v. ABEX Corp. (Tenn. 1985) 693 S.W. 2d 336.
                                                                                                                 Page 12 of 13
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contracts for the ALTA surveys. Alternatively, imagine that there were national service
providers brokering these ALTA surveys.

Recommended Reading:

        Research is readily available on the topics included in this paper. Regarding MERS and
its effects, see works of Christopher L. Peterson of the University of Utah. As to the function of
land title (particularly marketable title, mezzanine financing, title insurance converges and
attorney malpractice in real estate transactions) see the works of John C. Murray of First
American Title Insurance Company, Chicago.


In Closing:

        Land ownership, land title, land rights and land resources are the backbone of this
country, both literally and psychologically. The alteration of 400 years of land title records in
order to accommodate the last 15 years of securitization (at the cost of ownership rights) would
be inexcusable.

End Report




                                                                                   Page 13 of 13
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                                         E X HIBIT A
                                 O W N B E Y PR O PE R T Y C ASE

                                           The Problem

       Albert Walter Ownbey (“Ownbey”) bought a one acre parcel of land in 1973 (“Ownbey 
Property”). Daesoo Stanley Ji (“Ji”) bought one half acre of land in 2007 that adjoined the
Ownbey property (“Ji  Property”). Both properties have valid deed descriptions. Nevertheless,
there was a 9 foot overlap existing between the two properties. Both properties are shown on
Record of Survey book 77, page 5, filed on November 17, 1964 in the Orange County
Recorder’s  Office  showing the 9 foot overlap as being part of the Ownbey Property. When
purchasing the Ji Property, Ji received a title insurance policy issued by Fidelity National Title
Insurance Company (“Fidelity”) and referenced as Title Report Policy No. 27-131-03-410085.

         After Ji did a custom remodel on the Ji Property in 2009, Ji decided to sell the Ji Property
with an asking price of $1,490,000. Ownbey became concerned that some of remodeled Ji
Property (specifically a retaining wall and stairs) might encroach on the Ownbey Property.
Ownbey hired D. Woolley & Associates, Land Surveying and Mapping (“D.  Woolley”)  to 
complete a boundary survey. During the survey process, D. Woolley discovered a 9 foot overlap
between the Ji and Ownbey properties of approximately 1,506 square feet. Mr. Ownbey is 83
years old, owns the Ownbey Property free and clear with plans to leave his Property to his
children with the idea that they might want to further subdivide the Ownbey Property in the
future. In the neighborhood where the Ji and Ownbey Properties are located, the minimum lot
size is one half acre. The 9 foot overlap jeopardizes the ability to subdivide the Ownbey Property
lot and greatly diminishes the Ownbey Property’s value.

        When the problem with the two properties became known, Ji faced losing prospective
buyers in a down real estate market. Ji filed a claim with Fidelity and was assigned Jennifer
Reeves, Claims Administrator from the Omaha Regional Claims Center to handle his case.
Fidelity acknowledged an overlapping problem might exists, but denied Ji's claim because there
was a written exception in the title insurance policy excluding coverage for the following:

               "In addition to the exclusions, you are not insured against loss,
               costs, attorney's fees and expenses resulting from: The effect of a
               record of survey recorded November 17, 1964 as book 77, page 5
               of Records of Survey. As the boundary dispute forming the basis
               of your claim was shown on the 1964 survey which was a specific
               exception from coverage under the policy, Fidelity respectfully
               denies coverage for your claim."

        Ji and Ownbey required a chain of title review to determine senior/junior rights. Fidelity
failed to find the document showing where the 9 feet in question was transferred from the
Ownbey Propery to the Ji Property in the title report policy for the Ji Property. In April 2009, D.
Woolley performed a chain of title search at the Orange County Recorder's Office; however, it
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was also unable to find the document transferring the 9 feet from the Ownbey Property to the Ji
Property.

        In June of 2009 D. Woolley ordered a preliminary title report from Lawyer's Title
Insurance Corporation for the Ji and Ownbey Properties. On July 1, 2009, Preliminary Title
Report File No. 11687603-10 also could not find the document transferring the 9 feet from the
Ownbey Property to the Ji Property. Lawyer's Title Insurance Corporation assured D. Woolley
that all recorded documents were provided to them. In total, three independent chain of title
searches that were performed all indicated that there was a gap in the chain of title from April 22,
1965 and May 28, 1968.

       In this case, the chain of title was lost due to foreclosure through Monarch Savings and
Loan Association (“Monarch”).  Monarch was not in the chain  of title, therefore, Monarch did
not own the 9 feet to grant. Instead, Monarch attempted to convey the 9 feet and adjust the lot
line without a properly recorded grant deed. Furthermore, no other document appears in the
chain of title transferring the 9 feet in question from the Ownbey Property to the Ji Property.

                                            The Solution

          To solve the problem between the Ji and Ownbey Properties pursuant to California
statues, a binding Boundary Line Agreement a Record of Survey must be filed in Orange County
Recorder’s  Office.    In  preparing  the  Boundary  Line  Agreement,  the  drafter(s)  must  carefully 
word the Agreement so as to be binding on all successors in interest. Once the Boundary Line
Agreement is finalized, modified Deeds of Trust for both the Ownbey and Ji Properties must be
filed to protect the interests of all future parties.

          In this case, the cost of the chain of title, field survey, Record of Survey and Boundary
Line Agreement was $11,000 (at a reduced rate due to prior survey work on the Ownbey
Property). The two parties split the cost. Additionally, Ji and Ownbey paid a property attorney
$1500 to review and revise the required documents. This process took approximately 18 months
to complete. Even though expensive, this solution was much cheaper than the parties resorting
to litigation (each paying their own attorneys) to resolve the problem.
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                                          E X HIBIT B

C I V I L C O D E , SE C T I O N 1066

1066. Grants are to be interpreted in like manner with contracts in general, except so far as is
otherwise provide in this Article.

(See C ivil Code Section 1635-1663 for interpretation of contracts [grants])

C I V I L C O D E , SE C T I O N 1635-1663
1635. All contracts, whether public or private, are to be interpreted by the same rules, except as
otherwise provided by this Code.
 
1636. A contract must be so interpreted as to give effect to the mutual intention of the parties as
it existed at the time of contracting, so far as the same is ascertainable and lawful.

1637. For the purpose of ascertaining the intention of the parties to a contract, if otherwise
doubtful, the rules given in this Chapter are to be applied.

1638. The language of a contract is to govern its interpretation, if the language is clear and
explicit, and does not involve an absurdity.

1639. When a contract is reduced to writing, the intention of the parties is to be ascertained from
the writing alone, if possible; subject, however, to the other provisions of this Title.

1640. When, through fraud, mistake, or accident, a written contract fails to express the real
intention of the parties, such intention is to be regarded, and the erroneous parts of the writing
disregarded.

1641. The whole of a contract is to be taken together, so as to give effect to every part, if
reasonably practicable, each clause helping to interpret the other.

1642. Several contracts relating to the same matters, between the same parties, and made as
parts of substantially one transaction, are to be taken together.

1643. A contract must receive such an interpretation as will make it lawful, operative, definite,
reasonable, and capable of being carried into effect, if it can be done without violating the
intention of the parties.

1644. The words of a contract are to be understood in their ordinary and popular sense, rather
than according to their strict legal meaning; unless used by the parties in a technical sense, or
unless a special meaning is given to them by usage, in which case the
latter must be followed.
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1645. Technical words are to be interpreted as usually understood by persons in the profession
or business to which they relate, unless clearly used in a different sense.

1646. A contract is to be interpreted according to the law and usage of the place where it is to be
performed; or, if it does not indicate a place of performance, according to the law and usage of
the place where it is made.

1646.5. Notwithstanding Section 1646, the parties to any contract, agreement, or undertaking,
contingent or otherwise, relating to a transaction involving in the aggregate not less than two
hundred fifty thousand dollars ($250,000), including a transaction otherwise covered by
subdivision (a) of Section 1301 of the Commercial Code,
may agree that the law of this state shall govern their rights and duties in whole or in part,
whether or not the contract, agreement, or undertaking or transaction bears a reasonable relation
to this state. This section does not apply to any contract, agreement, or undertaking (a) for labor
or personal services, (b) relating to any transaction primarily for personal, family, or household
purposes, or (c) to the extent provided to the contrary in subdivision (c) of Section 1301 of the
Commercial Code.

  This section applies to contracts, agreements, and undertakings entered into before, on, or after
its effective date; it shall be fully retroactive. Contracts, agreements, and undertakings selecting
California law entered into before the effective date of this section
shall be valid, enforceable, and effective as if this section had been in effect on the date they
were entered into; and actions and proceedings commencing in a court of this state before the
effective date of this section may be maintained as if this section were in
effect on the date they were commenced.

1647. A contract may be explained by reference to the circumstances under which it was made,
and the matter to which it relates.

1648. However broad may be the terms of a contract, it extends only to those things concerning
which it appears that the parties intended to contract.

1649. If the terms of a promise are in any respect ambiguous or uncertain, it must be interpreted
in the sense in which the promisor believed, at the time of making it, that the promisee
understood it.

1650. Particular clauses of a contract are subordinate to its general intent.

1651. Where a contract is partly written and partly printed, or where part of it is written or
printed under the special directions of the parties, and with a special view to their intention, and
the remainder is copied from a form originally prepared without special
reference to the particular parties and the particular contract in question, the written parts control
the printed parts, and the parts which are purely original control those which are copied from a
form. And if the two are absolutely repugnant, the latter must be so far disregarded.
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1652. Repugnancy in a contract must be reconciled, if possible, by such an interpretation as will
give some effect to the repugnant clauses, subordinate to the general intent and purpose of the
whole contract.

1653. Words in a contract which are wholly inconsistent with its nature, or with the main
intention of the parties, are to be rejected.

1654. In cases of uncertainty not removed by the preceding rules, the language of a contract
should be interpreted most strongly against the party who caused the uncertainty to exist.

1655. Stipulations which are necessary to make a contract reasonable, or conformable to usage,
are implied, in respect to matters concerning which the contract manifests no contrary intention.

1656. All things that in law or usage are considered as incidental to a contract, or as necessary to
carry it into effect, are implied therefrom, unless some of them are expressly mentioned therein,
when all other things of the same class are deemed to be excluded.
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*SAMPLE BOILER PLATE LANGUAGE
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                                      E X HIBIT D
                  UNM AR K E T ABL E AND M AR K E T ABL E T IT L E

       The commercial insurance policies generated by title companies are called ALTA
Owner’s  and  Loan  Policies.  These  title  insurance  policies  provide  “covered  risk” for
“unmarketable title”. Unmarketable title is defined (in section 1(k) of the latest Owner’s 
Policy and section 1(m) of the latest Loan Policy) as  “title affected by an alleged or
apparent matter that would permit a prospective purchaser or lessee of the title or lender
on the title to be released from the obligation to purchase, lease, or lend if there is a
contractual condition requiring delivery of marketable title.”  

       By contrast, marketable title is defined as:

           “such  a  title  free  from  reasonable  doubt,  and  such  that  a 
           reasonably prudent person, with full knowledge of the facts
           and their legal bearings, willing and anxious to perform his
           contract, would, in the exercise of that prudence which
           business men ordinarily bring to bear upon such transactions,
           be willing to accept and ought to accept. Title must be so far
           free from defects as to enable the holder, not only to retain the
           land, but possess it in peace, and, if he wishes to sell it, to be
           reasonably sure that no flaw or doubt will arise to disturb its
           market value.”

Lick Mill Creek Apartments v. Chicago Title Insur. Co. (1991) 231 Cal. App. 3d 1654,
1660-1661 (citing Mertens v. Berendsen (1931) 213 Cal. 111, 112).

        Title insurance involves the issuance of an insurance policy promising that, if the
state of the title is other than as represented on the face of the policy, and if the insured
suffers loss as a result of the difference, the insurer will reimburse the insured for that
loss and any related legal expenses, up to the face amount of the policy. Id. at 1658. See
also Cal. Ins. Code § 12340.1. When a title insurance policy represents that a title search
was made, it also implied represents that the defects, impediments and other matters
mentioned in the policy and excluded from coverage are the only ones disclosed by a
search of public records (or disclosed on a new proper survey commissioned at the time
the policy is issued). To the average layman (who has paid for a title search made in
connection with a policy of title insurance) the policy itself serves as the abstract of title.
See Banville v. Schmidt (1974) 37 Cal. App. 3d 92, 100-108.

        A property may be deemed unmarketable after the flaws in the ALTA survey are
discovered. In fact, no “adverse claimant” need be present for a previous buyer to raise
an unmarketability claim under their title insurance policy.  The possibility of a “cloud” 
on title is enough to trigger title insurance coverage through their insurer. The insured
may incur a title defect rendering their property unmarketable when they go to sell or
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mortgage their property. Once discovered, the buyer can file a claim against their title
insurer.

        What constitutes a marketable title has been widely defined by the California
courts. “Unmarketability”  claims may be brought by an insured in many contexts,
including:

         1.     An unreleased mortgage in the chain of title;
         2.     A missing signature in a document in the chain of title;
         3.     A transfer from a decedent without the proper probate proceedings or a right
                of survivorship;
         4.     A  “wild”  deed  or  mortgage;  an  apparent  violation of restrictions or
                covenants affecting the property;
         5.     A n encroachment, easement, or disputed boundary location;
         6.     A forgery or questionable signature on a document in the chain of title;
         7.     A deed recorded long after the death of the grantor;
         8.     A vesting in reliance on an off-record, defective, or illegible power of
                attorney;
         9.     A tax or judgment lien against a name matching a grantor’s name;
         10.    Incor rect parcel descriptions;
         11.    A jurisdictional or other defect in a court action or proceeding (including
                defective notice or service of process) from which title to the insured
                property is derived;
         12.    Unresolved conflicts between two surveys;
         13.    A conveyance while a bankruptcy stay remains in effect; and
         14.    A mbiguous documents in the chain of title.
         15.    A right of reverter in the chain of title. 1




1
  Murray, John C., Vice President-Special Counsel, First American Title Insurance Company, Title Insurance Coverage
for “Unmarketability of the Title” (2008) [emphasis added where a land survey can affect marketable title].
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DIAGRAM        1



IN THE EVENT PARCEL 3 LOST THEIR CHAIN OF TITLE DUE TO MERS, IT WOULD ADVERSELY AFFECT 7 ADJOINING
PARCELS (SHOWN AS A.G).

THIS CLOUD OF TITLE WOULD MAKE THE BOUNDARIES OF A-G INDETERMINATE WITHOUT COMPLEX AND EXPENSIVE
LITIGATION. RESTATED, ONE LOST CHAIN OF TITLE AFFECTS 7 PARCEL, WHICH MAY NOT EVEN HAVE A TRUST DEED
(MORTGAGE).

DISCLAIMER: THIS IS A RANDOM TAX ASSESSOR'S MAP, THERE IS NO INDICATION OF ANY EXISTING TITLE ISSUES FOR
THE PROPERry SHOWN.
                                               E X HIBIT F
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                                               FROBLEMAz
                                                         20Poind                                         Sheet 1 ofZ


PROBLEM STATEMENT

Due to a conflict in reeord data, the tii,ie coinpany refuses lo insure your clienf's legal description.
Your clienf,s deed scntains the following description:
  Beginning at the northrvest corner of Lot 1; east aionglot lines 120 feeL; south bo poinl on soulh
  line 100 feet east of southr+'est corner of],oi 1; west'100 feet to souihwest corner; norih to poinl of
  beginning-
The title history is as follows:
  Orvner A acquireri lots.1, 2, and 3   in 1964.
  In 19?0, Owner A conveyed ia Owner B by deed recorded in Book 123 of Official Hecords
  Page 45, Lot 3 and portion of Lot 2 described as: beginning at the southeast qornel of Lot 2; west
  along the Lot [ne 50 feet; north to point on noriheriy line 30 feet west of the northeast corner of
  Loi 2; east to norlheast corner ofLat 2; south to point ofbeginning.
  in 19?5, Owner A conveyed to Owner C fuour clenfs           predecessor   in tjtle).using the   same
  description as your client's deed.

                        Flecord of Survey of Lots 1,2, &.3 of Facific $ubdivision
                    Filed in Book 86 of Maps, PaEe 50, Hecords of XYZ County, CA


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                      Case 2:12-cv-04556-CMR Document 3-6 Filed 08/15/12 Page 71 of 85




lJ                                                                                                    Sheel2of?

     PROBIEM RESUIREMENTS
     1   . Describe the procedure you would use to analyze the data required for providing a
           Iegal description of your client's prcperty; this legal desmipfion must be acceptable to
           the title company.                                                                           6 Poiais

     2. lVhal interprebalions of those data lvou'ld you rnake to determine your clienfs
        parcel.dimensions? $ha* the dimensions along the norbherly and southerly lines
         'of Lob 2.
                                                                                                        4 Poink

     3, Prepare the legal description ofycur client's    parcel.                                       I0 Points
         Case 2:12-cv-04556-CMR Document 3-6 Filed 08/15/12 Page 72 of 85
                                                  Grader ID No.
               -
  Grcding Flon Problem A2                         Candidate ID No.
.- 1. a.         Hisborical analysis of deeds to,determine senior rights.                          4 Poiats
       b. ' Review data on record of survey for comparison of data with
                 original subdiuision inap.                                                        2 Points
  2. s.          "B'is the senior parcel; 'C" only has what is left.                               2 Points
     t.          fiianUsh lob corners by proportional measure. Sei deed iine from
                 Iot corners as established.
                 '/h

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                                    = ?4.58                                                       2 Poi.nts
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                                                                         (7s') 50.0'                          (7s') 74.70'
                                                              N 89" 35'E     224.10', (22s')


                                                                'B'    STHEET

 Part fu ofEroblemA2 must include the eomplete                     prear:cble                    Z Points
 3a.   Example of an Acceptable Legal Description
         that certain real property situated in the County
       AJI                                                                of XYZ, State   of
       California, described as, follows:
       That portion of Ints L and 2 of Pacific Subdivisisn filed in Book 86 of Maps,
       Page $0, Resords of XYZ County, California, described as follows:
 Parf 3b must indude the conplete body of t&e legal descriptiorr'                                SFoints
 3b.   Beginning at the northwest corner of said Lot 1; thence N 89" 15' E aiong the
       norbherly line of said Lots 1 and 2, a dislance of 119.16 feet to the northwest
       comer of the land described in the Deed to "bn recorded in Book 123 of Ofticiai
       Records, Page 45, Records of lf,fZ County, Caiifornia; [hence southerly a]ong
       the westeriy line of said land bo the southwest corner thereo{ being a point on the
       southerly line of said l.ot2; thence S B9o 35'W 99.40 feet to the southwesi corner
       ofsaid Lot 1; thence N 1" 26'W 105 feetto the point ofbeginning.

                                                                                     TOTAL:20Points
 Commenis:

 I989 CAIJFORNTA PROFESSIONAL IAND SURVEYOR EXAMINATION                                                                         m
           Case 2:12-cv-04556-CMR Document 3-6 Filed 08/15/12 Page 73 of 85

                                                   L.S.-     A
                                                    1988
                                                 Page (1         )

    Probler A-2             lft. 6.O polnts

                                                                                         s
                                                                                         o)




                        F                                                                  F
                                                                                                    L
                        E                                                              o
                  tzo   2
                                                                                       tl)olo
                                                                                          z,
                                                                                                    I
                                                                                                    N


                                                 EAST

                  t8                                 t9                                        2o
                                                TftACT,       t23

    PROE.EI{ S:DAXEI€ITT


        The above sketch shows the record dinensions of Lot 11, Tract 123.
        Th'e Lot was divided by deeds ' nunbered in the foltowj.ng order.:
DEED * 1. JuJ.y 3, 1945 'The llest 1OO.OO'of tot 11 '-
DEED * 2. July 5, 1945 rTlre East IOO.OO'of the Hest 2OO.OO'of Lot 11'.

DEED * 3. JuIy 5" 1945 'The Eagt 1OO.OO" of the llest 3OO.OO'of Lot 1L".

DEED   * 4. Ju\y ?,1945           "The Northerly 75.00'of                the East 1OO.OO'of Lot 1.L'
       REaqtrED
                                           ***tr**tr
                   ANSIIER THE FOLLOI{ING FOUR    I,TULTIPLE CHOICE QUESTIONS
                   NUT'IBERED 1 THRU 4 BASED  ON     THE IIiFOE,HATION ABOVE.
                   aa*taat*r**    t tr*arlst   * *****r**aaatti***aa**taata*ttttata
                   CIRCLE ONE LETTER           (a)   THRU   (d)      INDTCATING IOUR ATISflEN
                   aattaaa**tta    aata*aa**tai*tattaaataati*ata.**t****a**at*

1. The best nay to degcrlbe the reoainj-ng parcel is:
q) The Southerly 75.0o-feet of the Easterly 10o.OG feet of Lot 11, Tract L23.
.\
bi The Easterly 1OO.OO feet of the Southerly 75.00 feet of Lot 11, Tract L23.
C) Lot 1i, Tract L23, Except the tlesterly 3CO.OO feet, also except the
 / Northerly 75.OO feet.
.|i'/ a po"tlon of Lot 11, Tract ) 23, on
                                          bounded on the i{est by the Easterly llne of
                                          the North by the Northerly I1ne of the
      the l{ester}y 3OO.0O   f eet and
      Southerly  75'OO feet.
                                   (Sheet, I of 3)
     Case 2:12-cv-04556-CMR Document 3-6 Filed 08/15/12 Page 74 of 85
                                          L.S"-   A,
                                           1988
                                        Page( 2        )
Problern A-2 contlnued




          2. The descriJ.ptJ.on f or Deed *4:
          a) Is adeguiete; No gaps or overlaps             Doay   occur as a result
             of a f,1elld survey
          b) Is an re:<ception description".
      c) ShouJ.d bei an exception description.
      d) fs J.nvaLl.d, lto access is provided to the reroainlng
             parceJ-.

      3.      If Lot 11, Tract !23, tru].y .rnea.sures 4O1.5O along the
              North and south lines' who has !:i!le to the
                                                              "*"""= ?
    ' a)      It would be proportioned among a).3. the parceJ.s
              since they were created sinuLtaneously.
      b)     The owner of Deed *1 slnce he is senior in right.
      c)     The State s1nce no taxes nere paid
      d)     The origJ.naL owner, his heirs or assiqnees.

      4.     ff Lot 11, Tract 123 were to be divided under today,s
             regulatlons, which docunent wouLd be reguired l.f aIl
             the lot.s are designated residential ?
      a)     Parcel     l'{ap

      b   ) Final. llap
      c)     Record of Survey
      d)     Certificate        of conpliance




                                (Sheer 2 of 3)
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                                                             L.S-- A
                                                              r.988
                                                           Page ( 3
Prob].em A-2 continued


FiOELEi{ SEATEIIEIir'

            AssumeLot 11, Tract 123 Has further subdivided into'the
           configuration shotrn in the sketch, by a resubdivision and
           a nap was filed"l.n 1945 creating the five parcels shown.
REAqIRED


               ANSIIER THE FOLLOWING TI{O !{UITIPLE CHOICE OUESTIONS
        NUI'IBERED 5 AND 6 GIVEN THE ADDITIONAL FOLLOIIIHG INFOR}TATION
        * a ***    *tt   *****.*         ** * ** *rt ** t +, * ***    t*******+.U+         ** * * *, t***a+a|    **t   **
                CIBCLE OHE LETTER                    (a)    THRU      (e)    rI{DICATTHG YOUE IHST.ER.
        *t *, * t t ** *'**        ***    * * * ** * *+ * * * * ** * * a*t   ******      * t* t ****   ** ** *r***     * *.

           5.      I{hich statenent is most correct                                  ?

           a) The first                   lot sold.will              have senior rights.
           b)      The map created a simuLtaneous conveyance situation.
           c)     rn the event of an excess or deficiency in the length
                  of the North and./or South ].ines of Lot 11, each of the
                  Ifesterly three rot.s Hlll get their f,uI} sidth ba.sed on
                  their order of conveyance.
           d)     AL1 of the above-
           e)     None of the above.

           5.      All the lots in the new resubdivision were purchased by
                   l{r. 'Bostrrick j.n L946. ttey rrere never developed.
                   rn 1987 his heirs sold the entlre parcel to !'tr. Nostorn
                   who wants to merge all the lots and construct a zo unit
                  condorainlum project. The Local Agency has no merger
                  ordinance.Pursua,nt to state'law he must fiLe wtrich.
                  i.f any, of the following docuraents ?
        4)        Final      [Jap

           b)     Parcel       Hap

         c)       Record of Survev
         d)       Certificate               of compliance
                                             :

           e)     None of the above




                                                 (Sheet 3 of 3)
                                                  EXHIBIT G
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471   '   Litigating Easement and Boundary Disputes                   s10.11




requires a written contract  for all attorney work estimated to cost
the client more than $1000 (Bus & P C $6148), counsel can enter
into a written attorney-client agreement that specifically is limited
to research and evaluation of the client's case, and that provides
that any litigation or other further work is to be the subject of
a separate written attorney-client contract.
   Before the completion of the consultation, counsel and client
should have a definite idea about what further action, if any, counsel
is to undertake. ll at the conclusion of the initial consultation, the
client retains counsel to represent him or her in the dispute, the
plan of action should include a review of potential insurance coverage
(see $$10.18-10.23) and further factual investigation (see $$10.24-
10.40) and legal research (see $$10.41-10.59 or $$10.60-10.70, as
applicable).


s10.11             E. Checklist: Dos and Don'ts in Boundary
                    Location Disputes
  _         Remind clients that boundary location disputes are usually
            expensive to litigate (a client will sometimes fight to the
            last dollar). See SS10.6, 10.9-'10.10, 10.94.
  _         Explain to client that he or she will be charged for every
            minute of attorney services, including all client communica-
            tions, whether by phone, letter, or e-mail. See 510.9.
  _         Review applicable insurance policies and consider retaining
            insurance counsel; give notices of claim and tender defense
            of suit when appropriate. See 5S10.8, 10.18-10.23, 10.90.
  _         When the situation calls for it, consider early retention of
            experts, especially a surveyor. See SS10.6, 10.26-10.31,
            10.78.

  _         Research local ordinances that might apply to the disputed
            issues. See SS1O.12-10.17.
  _         Review title documents, interview witnesses, and check other
            evidence of boundary location. See $510.32-1A.40.
  _         Consider interviewing predecessor owners of client's property
            and adjoining properties and neighbors not involved in the
            dispute. Seb SS10.36-10.38, 10.82.
  _         Get photos; check with historical societies, governmental
            entities, and old families in the community (e.9., aerial photos
            taken several decades ago can help to establish location
         Case 2:12-cv-04556-CMR Document 3-6 Filed 08/15/12 Page 77 of 85




s10.12               California Easements and Boundaries: Law and Litigation   '   472




         of monuments that were later removed but are                   essential
         to a surveY). See SS10.34-.10.40.
         Boundary issues are frequently not simple; be aware that
   -     some clients think they know the law better than counsel.
         See 510.7.
         Establish from the beginning who is in charge of the case
   -     and discourage the client from speaking with other parties
         if the client is emotionally overwrought. See SS10'7, 10'9'
         10.89-10.92.
   _     Discuss all potential settlement options with client before
         filing suit. See SS10.10, 10'83-10.92.
         Do not enter an appearance in any boundary litigation unless
         counsel is confident about handling both the emotional and
         the legal issues. See       $S10.2-10.10-
         Withdraw when any client insists he or she knows the law
         better than counsel. See SS10.7, 10.9.
         Engage another expert if any expert, e'9', surveyor or engi-
               -insists
         nedr,          he or she knows the law better than counsel.
   -     But if the expert has legal authority or knows of a case
         on point, read it. On experts, see $510'26-10'31' 10'78'
         After reviewing all pertinent information, walk the property
         separately with the surveyor and the client and understand
   -     why eacfrone believes the boundary line is a certain location.
         See SS10.25-10.28, 10.79.

         is done and explain what was done, what was found, and
    --Wa|kthepropertyagainwiththeclientaftertheSurveyWork
         what it means with respect to the boundary location'
         consider withdrawing if the client disagrees with counsel's
         or surveyor's assessment and wants to place the boundary
         in another location.
     _ lf there is continued doubt about the boundary location, re-
          search' read, and review again; usua||y the answer is buried
          somewhere.
          lf enormous doubt persists on the location or validity of the
          boundary, seriously consider not taking the case or withdraw-
          ing from   it.



 510.12        III. RESEARCHING LOCAL ORDINANCES
    Because many aspects        of land use are subject to local regulation,
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                                             E X HIBIT H

                        Sequential and Simultaneous Conveyances

Sequential Conveyance:

        “When a portion of a tract of land is sold, two or more parcels are created, a new parcel and the
        remainder of the parent parcel. Because the new parcel must receive all of the land described, it
        is called the senior deed, and the remainder, at the time of conveyance, becomes the junior deed.
        Sequential conveyances are those written deeds in which junior and senior rights exist between
        two adjoining parcels. In general, sequential conveyances came into being because of a lapse of
        time between successive conveyance instruments. For example, the state of Virginia granted a
        patent for a parcel of land to Jones, and at a later date granted an adjoining patent to Smith. If the
        there happens to be an overlap of Smith’s parcel on Jones’s parcel, the party first in time (Jones, 
        the senior deed) receives all that is described in the patent, and the adjoiner or second conveyance
        in time (Smith, the junior deed) receives the remainder. If a gap exists, the portion, in theory,
        belongs to the state”1.

Because of the numerous conflicts in deed rights established by sequential conveyances and subsequent
litigation, California no longer allowed the division of property by sequential deeds after 1972. Even with
the ban being nearly 40 years ago, there are several million parcels with such descriptions. An average of
38% of the commercial real estate conveyances in, minimum purchase price of $3 million, in the six
California counties sampled has such descriptions.  The chain of title protects the rights of those “first in 
deed and last in will”. 

Simultaneous Conveyances:

        “When several parcels of land are created at the same moment in time, such as lots in a
        subdivision, several parcels in a will, or sections in a township, all parcels have equal legal
        standing; they were all created at the moment of filing the subdivision map, at the moment of
        death of the testator, or in the case of a U.S. township, at the time the plat was approved.
        Sequential rights (senior rights) to lots in a filed subdivision rarely exist. Usually, each party is
        entitled to his or her proporation of any excess or deficiency discovered. However, sequential
        rights may exist between separate subdivisions.

        In a resurvey of a deed, if no significant error of closure exists and all monuments fall in their
        measure positions, the resurvey merely amounts to replacing old monuments or setting new
        monuments…However, when measurements between original monument positions do not agree
        with those called for in the conveyance or when there is a significant error of closure, correcting
        these discrepancies becomes a problem. The treatment of the discrepancy varies depending on
        whether the conveyance is sequential or simultaneous”2.




1
  Brown, Curtis M., Walter G. Robillard, Donald A. Wilson, Brown’s Boundary Control and Legal Principles (5th
ed. 2003) § 11.2, pg. 301.
2
  Id. pg. 301-302
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                                              CURRI CULUM VI T A E


                                                  David E . Woolley
                                              Professional Land Surveyor
                                             D. Woolley & Associates, Inc.
                                  2832 Walnut Avenue, Suite A, Tustin, California 92780
                                                    714-734-8462
                                                 dave@dwoolley.com


                                                               PR O F ESSI O N A L L I C E NSES
   20+ Y ears of E xperience
                                          California License: PLS 7304
                                          Nevada License: PLS 13299

                                                                          A F F I L I A T I O NS
                                          California Land Surveyors Association (CLSA) - Orange County Chapter Legislative
                                           Chairman 1999 - Current
                                          CLSA - Chapter Representative for the State
                                          CLSA State Legislative and Professional Practices Committee Member
                                          CLSA Professional Development Program Member 2010-11
                                          Land Surveyors Advisory Council on Technical Standards (LSACTS) – Vice Chair
                                          American Congress of Surveying and Mapping Member
   E xpert in 40+ court cases             Orange County Financial Crimes Investigators Association Member
involving land surveying issues           American Bar Association Associate
                                          Affiliate of LA and OC County Bar Association
                                          California Receivers Forum – Los Angeles / Orange County Chapter Member
                                          Association of Certified Fraud Examiners – Associate Member

                                                               PR O F ESSI O N A L E X P E R I E N C E

                                       President / Owner: D. Woolley & Associates, T ustin, C A , 2003 to Present
                                       Vice President:        Johnson-F rank & Associates, A naheim, C A , 1998-2003
                                       Chief of Parties:      H uitt-Zollars, I rvine, C A , 1997-1998
                                       Surveyor’s Office:     County of O range, Santa A na, C A , 1988-1997

                                                             N O T A B L E A C C O M P L ISH M E N TS
                                       Complex Boundary and Title Review Issues
D. Woolley & Associates, Inc.
                                       A cornerstone for D. Woolley and Associates is the ability to resolve complex boundary and
files more Records of Survey
than 3 largest firms in O range
                                       title review issues and to provide surveys for people involved in litigation. Acting
County and C altrans combined.         extensively as an expert witness and consulting experts in various cases, D. Woolley &
                                       Associates assist attorneys in understanding and analyzing real property boundary and land
                                       title issues, fraud, standard of care, and professional negligence issues.

                                       Reviewed Over 1000 Tract Maps, 500 Parcel Maps and 300 Record of Surveys
                                       Mr. Woolley was the former supervisor of the Record of Survey, Parcel Map and Tract Map
                                       submittals section of the Orange County Surveyor's office. He was responsible for
                                       compliance with state laws, local ordinances and boundary determination. In addition to the
                                       preparation of Records of Survey, he reviewed over 1000 Tract Maps, 500 Parcel Maps and
                                       300 Records of Survey prepared by Professional Land Surveyors.




                                                               1
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                                     Peer Consultant
T echnical E xpert for C alifornia
                                     Mr. Woolley is recognized throughout California as a boundary and title expert. He is often
Board of Professional E ngineers
      and L and Surveyors            asked to review and/or perform surveys for other Professional Land Surveyors (peer review),
                                     particularly when such projects may be subject to litigation.


                                                               SP E C I A L I Z E D C O M P E T E N C E

                                     Expert in the following: Land Surveying; standard of care; construction surveying;
                                     boundary line determination and analysis; boundary disputes; deed interpretation; boundary
                                     reconstruction; easement analysis and construction; map preparation, The Professional Land
         A D R Specialist            Surveyor’s  Act  and  The  Subdivision  Map  Act;  ALTA  surveys; documentation of
                                     construction defects; settlement/displacement surveys.

                                     Mediation: Mr. Woolley has sought additional education and certification from UC Irvine.
                                     He saw the value in mediating (alternative dispute resolution or ADR) between conflicting
                                     parties. This allows the most knowledgeable boundary person, the surveyor, to assist the
                                     parties in boundary resolution without costly litigation. This experience and education is
                                     valuable for the client as well as the attorneys.



                                                               SE L E C T E D PU B L I C A T I O NS

                                     The California Surveyor – Ongoing
                                     Mr. Woolley writes a quarterly article “The More Things Change, The More They Stay The
                                     Same”, a historical retrospective to today’s changes in the profession.

                                     The California Surveyor - 2009
                                     “The Professional Practices Committee: Surveyor’s Friend or Foe?”




A uthor of 3 Surveying A rticles
     (Two made the cover)




                                          The California Surveyor - 1999                 The California Surveyor – 2005
                                               “The Wall of F ire”                      “A Working Man’s Guide to Laser
                                                                                                     Scanning”




                                                             2
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                                                                 SE L E C T E D W H I T E PA PE RS
   A uthor of the W hite Paper series
      on L and Surveyor L iability      Published under Land Surveyors Advisory Council on Technical Standards (LSACTS)

                                              Land Surveyor Liability (Party 1 of 9) - May, 2010
                                              Land Surveyor Liability (Part 8 of 9), A Land Surveyor’s Guide to Defamation and
                                               Free Speech - August, 2010
                                              Ground Leases/Leasehold Estates and the Surveyor - December, 2010
                                              Land Surveyor Liability (Part 2 of 9), The Land Surveyor As An Expert Witness In
                                               Litigation - Procedures, Techniques, and Liabilities - January, 2011

                                                                     O T H E R W H I T E PA PE RS

                                              MERS: The Unreported Effects of Lost Chain of Title on Real Property Owners -
                                               January, 2011

                                                                B A C K G R O U N D A N D H O N O RS

                                        Geophysical Surveying Curriculum
                                                 National College, Rapid City, South Dakota
                                        Land Surveying Curriculum
                                                 Santa Ana Community College, Santa Ana, California
                                        Legislative Chairman California Land Surveyor’s Association 
                                           Orange County Chapter 1999-Present
                                        Authored Assembly Bill 557 (AB 557) 1993
Established and instructs “Ethics, 
                                           Modifying the Subdivision Map Act
   Standard of C are, and the
     C alifornia Business and           Consultant to Professional Land Surveyors (Peer to Peer)
 Professions Code” for the Land            On boundary, mapping , title, and survey analysis
 Surveying Program at Rancho            CLSA Professional Development Program
  Santiago Community College               One of 25 Land Surveyors to have completed the program 2010-11

                                                                    C L ASS I NST R U C T O R F O R:
                                        Engineering 118 and 119
                                           18 week course, Rancho Santiago Community College, Santa Ana, California,
                                           1991 - 1996
                                        Ethics, Standards of Care and the Business & Professions Code for the California Land
                                        Surveyor
                                           8 week course, Rancho Santiago Community College, Santa Ana, California,
                                           2009 - Present

                                                                       E X PE R T T EST I M O N Y
                                        The 40+ land surveying cases that Mr. Woolley was retained for involved:

                                                 Encroachments                             Review of deposition
                                                 Trespass                                   transcripts
                                                 Landslide                                 Writing technical reports
                                                 Surveyor negligence and                   Technical review of settlement
                                                  standard of care                           documents
                                                 Q&A for depositions                       Preparing declarations
                                                 Preparation for deposition                Exhibits
                                                                                            Trial preparation



                                                                3
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                                                         E X PE R I E N C E H I G H L I G H TS
     Pro Bono Services         Pro Bono Services
                               D. Woolley & Associates, Inc., regularly performs pro-bono surveys for members of the
                               public that may not be able to afford a property survey.

                               California State Senator, Bob Margett:
                               Conducted a survey for constituent, Mr. Ewing Chow

                                                               G U EST L E C T U R E R
                               Pepperdine University
                               In Fall 2010, Mr. Woolley was a guest speaker for “Managing Within The Legal, Ethical
                               and Governmental Environment ” at Pepperdine University Graziadio Graduate School of
                               Business and Management. He spoke about the history of the land title system and real
    Community Service          property case history.

                               American Congress of Surveying Mapping

                                       “ACSM/NSPS A LTA Standards and How They Relate to Section 8762 of the
                                         Professional Land Surveyor’s Act.”
                                         Dave Woolley, PLS 2007

                               Mr. Woolley has conducted seminars for the American Congress of Surveying Mapping on
                               California survey law & standard of care for land surveyors. These seminars were well
                               attended by fellow professionals.

                               California State University Fresno

                                       “Professional Land Surveyor’s Act and the Record of Survey Process”
   A ll fees associated with            Dave Woolley, PLS, 2007
lectures have been donated.            “Standards of Care Revisited Part 1”
                                         Paul Cuomo, PLS and Dave Woolley, PLS, 2008
                                       “Standards of Care Revisited Part 2”
                                         Paul Cuomo, PLS and Dave Woolley, PLS, 2008

                               Mr. Woolley has been an invited guest speaker for California State University Fresno in
                               2007 and 2008, he has lectured on the surveyor’s code of conduct, standard of care, the 
                               procedures the Board of Professional Engineers and Land Surveyors utilize with
                               enforcement cases.

                               California Land Surveyor’s Associations
                               Mr. Woolley has been the guest speaker for the California Land Surveyor’s Associations for 
                               the counties of Orange, Los Angeles, Riverside, Desert Chapter (Palm Springs), San
                               Bernardino, and San Diego. “ALTA/ACSM Standards and How They Relate to Business &
                               Professions Section 8762.”

                               California Land Surveyor’s Associations – Northern Counties Chapter
                               Mr. Woolley was a guest speaker for the CLSA Northern Counties Chapter Conference,
                               “Records of Survey and the Business & Professions Code for the California Surveyor.”

                               Rancho Santiago Community College (2009 – Present)
                               Mr. Woolley teaches “Ethics, Standards of Care and the Business & Professions Code for
                               the California Land Surveyor” at Rancho Santiago Community College.




                                                        4
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                                  Land Surveyor Prep Class (2007 – 2010)
M r. Woolley H as T estified in   Mr. Woolley has taught a 14 to 18 week class at his office for sub-professionals, to prepare
 Depositions and Court for        to them for California PLS exams.
     C ivil A nd C riminal
         Proceedings.             Orange County Council – Boy Scouts of America (Costa Mesa, CA)
                                  Mr. Woolley assisted Troop 90 in receiving their Surveying Merit Badge in
                                  January, 2010.

                                  Professional Land Surveyors of Oregon (PLSO)
                                  Mr. Woolley spoke at the 2011 PLSO Conference in Salem, Oregon. The 6 hour
                                  engagement included land surveyor liability, standard of care, and ethics. His presentation
                                  also included case law review and the role of an expert witness.

                                  All fees associated with lectures have been donated to the various groups/organizations and
                                  memorials.




                                                           5
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                                                E X H IBI T J

                                               D E F I N I T I O NS


A.      “Chain  of  title” is  a  “record  of  successive  conveyances,  or  other  forms  of  alienation, 
        affecting a particular parcel of land, arranged consecutively, form the government or
        original source of title down to the present owner.”1

B.      A “deed” is a “conveyance of realty; a writing signed by grantor, whereby title to realty 
        is transferred from one to another.”2

C.      A “wild deed” is “a deed not in the chain of title.  An instrument which is recorded but, 
        because some previous instrument connecting it to the chain of title has not been
        recorded,  will  never  be  discovered  in  the  indexes.”3 Documents that are improperly
        indexed or otherwise have a defect that prevents them from being discoverable in the
        chain of title by searching the grantor/grantee index do not impart constructive notice to
        subsequent parties and are considered wild deeds.4

D.      “Race/notice statutes” and “race recording statutes” refer to states with race recording
        statutes. The party who records an instrument of conveyance has the better claim
        regardless of notice of prior unrecorded instruments. 5

E.      “Sequential conveyances” are parcels of land created from a parent parcel by a common
        grantor. “Senior  rights” are determined by examining the deeds of all the parcels
        created from the parent parcel with respect to the date that they were initially executed,
        the earliest (senior), the latter (“junior rights”) getting what is left. 6




1
  Black’s Law Dictionary (6th ed. 1990), pg. 229. See also Brown, Robillard and Wilson, Evidence and Procedures
   For Boundary Location (2nd ed. 1981), pg. 320, § 12-6 stating “A person guaranteeing title must, of necessity, 
  examine all transfers back to the creation of the title.”
2
  Black’s Law Dictionary (6th ed. 1990) pg. 414
3
  Black’s Law Dictionary (6th ed. 1990) pg. 415.
4
  California Education of the Bar, California Title Insurance Practice (2006) §4.23, pg. 80.
5
  Black’s Law Dictionary (6th ed. 1990), pg. 1258. For purposes of this paper, we are not distinguishing between,
  race, notice, race/notice and race recording. Race/notice is meant to encompass all designations.
6
  Paul A. Cuomo, LS, The Quasi-judicial Functions of the Land Surveyor, Part 2: Senior Rights: Here Today,
Gone Tomorrow, The American Surveyor (2006).
 Case 2:12-cv-04556-CMR Document 3-6 Filed 08/15/12 Page 85 of 85




                                             EXHIBIT K                     ORDER NO. : 2607088597-55




      The land referred to is situated in the County of Orarqe, City of Orange, State of California, and
      is described as follows:

      Lot 86 of TraC No, 2642, in the City of Orange, County of Los Angeles, State of Califomia, as
      shown on a mapthereof recorded in Book 83, Pages 26 and 27 of Miscellaneous Maps, in the
      office ofthe County Recorder of said Counfy'

f     n       or,c-ovenan6 that it is seized and possessed of the said land and has a right to conu*y    itJ
I       ^nwarrants
      and             the title against lawful claims of all persons claiming, by, through and under   it, I
            not further   otherwise.
Lj*                                                                                                      t
      The following reservations from and exceptions to this conveyance and the warranty of title
      made herein shall apPlY.

      (1) All easernents, rights-of-way and prescriptive rights whether of record or not, pertalning to
      any portion(s) ofthe herein described property (hereinafter. the "Property");

      (2) All valid oil, gas and mineral rights, inErests or leases, royalty reservauons, mineral interest
      and kansfers of interest of any character, in the oil, gas or mlnerals of record in any county in
      which any portion of the Proper$ is located;

      (3) All restrictive covenanb, terms, conditions, contracts, provisions,   zoning ordinances and
      other items of record in any county in which any portion of the Property is located, peitaining to
      any poftion(s) of ihe Property, but only to the extent thaf same are still in effect;

      (4)   All presently recorded instrumenB (other than liens and conveyances by, through or under
      tlre Grantor) that affect the Propefi and any portion(s) thereof;

      (5) Ad valorem taxes, fees and assessments, if any, for the current year and atl prior and
      iu'bsequent years, the payment of which Grantee assumes (at the time of transfer of title)' and
      all subsequent assessments for this and all prior years due to change{s) in land usage
      (including, but not limited to, the presence or absence of improvements, if any, on the
      Property), ownershlp, or both, the payrnent of which Grantee assumes; and

      (6)   Any conditions that woutd be revealed by a physical irspection and suruey of the Property.




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